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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

DARLENE GIBBS, STEPHANIE EDWARDS,
LULA WILLIAMS, PATRICK INSCHO, and
LAWRENCE MWETHUKU, on behalf of
themselves and all individuals similarly situated,

                               Plaintiffs,
                                                      1

                                                          Civil Action No.: 3:17-cv-386-MHL
v.

KENNETH REES; THINK FINANCE, INC.;
THINK FINANCE SPV, LLC; TC DECISION
SCIENCES, LLC; TC LOAN SERVICE, LLC;
TAILWIND MARKETING, LLC; and GPL
SERVICING,

                              Defendants.


  DECLARATION OF STEPHEN SMITH IN SUPPORT OF DEFENDANTS THINK
 FINANCE INC., THINK FINANCE SPV, LLC, TC DECISION SCIENCES, LLC, TC
   LOAN SERVICE, LLC, AND TAILWIND MARKETING, LLC'S MOTION TO
 COMPEL ARBITRATION AND, IN THE ALTERNATIVE, DISMISS PURSUANT TO
                       RULE 12(b)(7) AND 12(b)(l)

       I, Stephen Smith, hereby declare:

       I.      I am an employee of Think Finance, Inc. ("Think Finance").            I make this

declaration in support of Defendants Think Finance, Inc., Think Finance SPV, LLC, TC

Decision Sciences, LLC, TC Loan Service, LLC, and Tailwind Marketing, LLC's (the "Think

Defendants") Motion to Compel Arbitration and, in the alternative, Motion to Dismiss Pursuant

to Federal Rule of Civil Procedure 12(b)(7) and 12(b)(l). I make this declaration based on

personal knowledge of the facts set forth herein, and the review of documents maintained by the

Think Defendants in the regular course of business.
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        2.      I have been employed with Think Finance since June 2009, and currently serve as

Chief Compliance Officer.       TC Decision Sciences, LLC ("Decision Sciences"), TC Loan

Service, LLC ("Loan Service"), and Tailwind Marketing, LLC ("Tailwind Marketing"),

subsidiaries of Think Finance, previously operated as service providers for Plain Green, LLC

("Plain Green"), which is a lending entity wholly owned and operated by the Chippewa Cree

Tribe of the Rocky Boy's Indian Reservation ("Chippewa Cree Tribe"), and currently operate as

service providers for Great Plains, LLC ("Great Plains"), which is a lending entity wholly owned

and operated by the Otoe-Missouria Tribe of Indians ("Otoe-Missouria Tribe"), both federally

recognized Indian tribes {Plain Green and Great Plains are referred to collectively as the "Tribal

Lenders"). The services these Think entities provided for Plain Green and Great Plains are

marketing services, which included website maintenance, direct mail and electronic mail, as well

as software and technology support services.

        3.     Plaintiffs Darlene Gibbs, Stephanie Edwards, Lula Williams, Patrick Inscho and

Lawrence Mwethuku have brought suit based on loans they entered into with Plain Green and/or

Great Plains (the "Tribal lenders").      Through my employment with Think Finance and in

connection with the provision of services to Plain Green and Great Plains by the above Think

entities, I have access to and have gained familiarity with Plain Green's and Great Plains's loan

documents, subject to the limitations set forth in paragraphs 4 - 8 below.

       4.      Decision Sciences, Loan Service, and Tailwind Marketing began providing

administrative services to Plain Green in 20 I 1.

       5.      On June 1, 2015, Decision Sciences and Tailwind Marketing and Plain Green

entered into renegotiated administrative services contracts at Plain Green's request.




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        6.        In March 2016, at Plain Green's request, Decision Sciences and Tailwind

Marketing and Plain Green again entered into negotiations concerning Plain Green's

administrative services contracts. These negotiations were unsuccessful and the contracts were

tenninated by Plain Green effective June 1, 2016.

       7.         None of the Think Defendants have provided any services to Plain Green since

June 1, 2016. This Declaration is therefore limited to Plain Green's loan agreements and website

prior to June 1, 2016.

       8.         As of late March 2017, the Think Defendants stopped providing certain marketing

services to Great Plains, including direct and electronic mail marketing services.

                              Loan Application and Loan Documents

       9.         Plain Green and Great Plains perform their lending operations online through

their websites.

       10.        When beginning the loan application process on Plain Green's or Great Plain's

website, a customer first views the website's homepage. On the homepage, the customer clicks

on "apply now" or "Get Started Today" to start the loan application process.

       11.        The customer next completes a loan application.     As part of the application

process, the customer provides personal and financial infonnation. If Plain Green or Great

Plains approves the application, the customer is asked to select a date for the first payment based

on the timing of their application (and has the option to view a full payment schedule based on

the date selected) and a loan amount.

       12.        The customer is then asked to review and sign the loan agreement. The customer

is provided with a copy of the "Consumer Loan Agreement" (later titled the "Consumer

Installment Loan Agreement"), which includes an agreement to arbitrate. At this time, the



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customer also chooses whether to receive the loan proceeds electronically or by U.S. Mail. The

customer then types her full name to provide an electronic signature. The customer also types

the phrase "I Agree" in a box on the screen to indicate her acceptance of the loan terms.

        13.    Once the loan agreement is submitted, the customer has options to print and/or

save the agreement.

        14.    The customer is then directed to a final page that informs the customer that once

her loan application information is verified, she will receive the funds from her loan.

        15.    In connection with the provision of services to Plain Green and Great Plains, the

Tribal Lenders provide Decision Sciences, Loan Service, and Tailwind Marketing access to

records of loan agreements entered into between Plain Green and Great Plains and their

respective borrowers.

                                  Plaintiffs' Loan Agreements

       16.     Plaintiff Gibbs entered into a Consumer Installment Loan Agreement with Plain

Green, loan number 72770294, for $1,200.00, on January 6, 2016. A true and correct copy of

Plaintiff Gibbs's Consumer Installment Loan Agreement, loan number 72770294, dated January

6, 20I6, is attached hereto as Exhibit "1."

       17.     Plaintiff Williams entered into a Consumer Installment Loan Agreement with

Great Plains, loan number 74097924, for $1,400.00, on October 5, 2016. A true and correct

copy of Plaintiff Williams's Consumer Installment Loan Agreement, loan number 74097924,

dated October 5, 2016, is attached as Exhibit "2."

       18.     Plaintiff Edwards entered into a Consumer Installment Loan Agreement with

Great Plains, loan number 73346057, for $1,300.00, on July 17, 2015. A true and correct copy




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of Plaintiff Edwards's Consumer Installment Loan Agreement, loan number 73346057, dated

July 17, 2015, is attached hereto as Exhibit "3.

        19.    Plaintiff Inscho entered into a Consumer Installment Loan Agreement with Great

Plains, loan number 73784134, for $1,700.00, on March 31, 2016. A true and correct copy of

Plaintiff Inscho's Consumer Installment Loan Agreement, loan number 73784134, dated March

31 , 2016, is attached hereto as Exhibit "4."

        20.    Plaintiff Mwethuku entered into a Consumer Loan Agreement with Plain Green,

loan number 67893953, for $500.00, on May 28, 2013. A true and correct copy of Plaintiff

Mwethuku' s Consumer Loan Agreement with Plain Green, loan number 67893953, dated May

28, 2013, is attached hereto as Exhibit "5."

        21.    In addition to the above loan agreement, Plaintiff Mwethuku entered into a

Consumer Loan Agreement with Plain Green, loan number 68693094, dated August 22, 2013.

Plaintiff Mwethuku did not pay any interest or principal relating to this Consumer Loan

Agreement with Plain Green.

                                      Arbitration Agreements

       22.     Each Plaintiff signed Great Plains's Consumer Installment Loan Agreement,

Great Plains's Consumer Loan Agreement, Plain Green's Consumer Installment Loan

Agreement and/or Plain Green's Consumer Loan Agreement. The loan agreements entered into

by Plaintiffs all contain an arbitration agreement (the "Arbitration Agreement") that provides for

all disputes related to the loan agreements to be resolved by binding arbitration.

       23.     The Arbitration Agreements also provide a consumer with the opportunity to opt-

out of the Arbitration Agreement by sending written notice via mail or email within sixty (60)

days of signing the loan agreement.



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       24.        Both Tribes have their own standard operating procedures for handling consumers

that opt-out of arbitration. If a consumer opts-out of the Arbitration Agreement by sending

written notice via mail or email within sixty (60) days of signing the loan agreement, a customer

support agent, who is either an outsourced third-party vendor that has a contract with the Tribal

Lender or a call center agent employed by the Tribe on the reservation, will check a box in the

loan account management system indicating that the consumer opted out of arbitration.

       25.        Based on a review of the records accessible in the loan origination and servicing

platfonn used by the Tribes:

             a. Plaintiff Gibbs never opted out of the Arbitration Agreement to which she agreed

                  in her Consumer Installment Loan Agreement.

             b. Plaintiff Edwards never opted out of any of the Arbitration Agreements to which

                  she agreed in her Consumer Installment Loan Agreements or Consumer Loan

                  Agreements.

             c. Plaintiff Williams never opted out of any of the Arbitration Agreements to which

                  she agreed in her Consumer Installment Loan Agreements.

             d. Plaintiff Inscho never opted out of any of the Arbitration Agreements to which he

                  agreed in his Consumer Installment Loan Agreement or Consumer Loan

                  Agreements.

             e. Plaintiff Mwethuku opted out of the Arbitration Agreement with respect to his

                  Consumer Loan Agreement with Plain Green, loan number 68693094, dated

                  August 22, 2013.

             f.   Other than his August 22, 2013 Consumer Loan Agreement with Plain Green,

                  Plaintiff Mwethuku did not opt-out of any of the Arbitration Agreements to which



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              he agreed in his Consumer Installment Loan Agreements or Consumer Loan

              Agreements.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct based on my personal knowledge and review of documents.

       Executed on August 7, 2017.


                                            STEPHEN SMITH




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                              THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"

                                              Plain Green Consumer Installment Loan Agreement

                                                           Loan Number: 72770294


                                                               Plain Green, LLC
                                                            93 Mack Road, Suite 600
                                                                  PO Box 270
                                                           Box Elder, Montana 59521
                                                                (866) 420-7157


  PLEASE READ THESE IMPORTANT DISCLOSURES CAREFULLY

  HIGH COST CREDIT DISCLOSURE: THIS LOAN IS NOT INTENDED TO MEET LONG-TERM FINANCIAL NEEDS. THIS LOAN
  SHOULD BE USED ONLY TO MEET SHORT-TERM CASH NEEDS. RENEWING THE LOAN RATHER THAN PAYING THE
  DEBT IN FULL WILL REQUIRE ADDITIONAL FINANCE CHARGES.

  THE LENDER (HEREINAFTER REFERRED TO AS "PLAIN GREEN, LLC" OR "PLAIN GREEN") IS THE TRIBAL
  GOVERNMENTAL LENDING ARM OF THE CHIPPEWA CREE TRIBE OF THE ROCKY BOY'S RESERVATION, MONTNA
  (HEREINAFTER REFERRED TO AS THE "TRIBE"). PLAIN GREEN IS OWNED BY THE TRIBE AND FORMED UNDER TRIBAL
  LAW FOR THE EXPRESS PURPOSE OF GENERATING REVENUE FOR TRIBAL GOVERNMENTAL PURPOSES. PLAIN
  GREEN OPERATES WITHIN THE TRIBE'S RESERVATION. BOTH THE TRIBE AND PLAIN GREEN ARE IMMUNE FROM SUIT
  IN ANY COURT UNLESS THE TRIBE, THROUGH ITS TRIBAL BUSINESS COMMITTEE, EXPRESSLY WAIVES THAT
  IMMUNITY. WAIVER MAY ONLY BE MADE THROUGH A FORMAL, WRITTEN TRIBAL RESOLUTION FROM THE TRIBAL
  BUSINESS COMMITTEE. PLAIN GREEN IS REGULATED BY THE TRIBAL CONSUMER PROTECTION BUREAU (THE
  "BUREAU"). CONSUMERS HAVE THE RIGHT TO SUBMIT COMPLAINTS TO THE BUREAU IN ACCORDANCE WITH THE
  DISPUTE RESOLUTION PROCESS SET FORTH IN THIS AGREEMENT AND SUBJECT TO THE REGULATORY AUTHORITY
  OF THE BUREAU IN ACCORDANCE WITH TRIBAL LAW.


   Lender:                                                                    Borrower's Name:
   Plain Green, LLC                                                           Darlene Jones Gibbs

   Origination Date: 1/6/2016                                                 Borrower's ID:
   This is the date you signed and submitted this Agreement to Plain Green.   *******7133

   Disbursement Date: On or about 1/6/2016                                    Borrower's Address:
   This is the date that the Loan proceeds are released.                      REDACTED


   Effective Date: 1/7/2016                                                   Borrower's Bank and Account Number for ACH
   This is the date that interest begins to accrue.                           Transfers (the "Bank Account"):
                                                                              Suntrust REDACTE
                                                                                       D
   Final Payment Due Date: 4/2/2017
   This is the Loan maturity date.


  In this Plain Green Consumer Installment Loan Agreement (this "Agreement"), "you" and "your" refer to the Borrower
  identified above. "Tribal Law" means any tribal law or regulation duly enacted by the Chippewa Cree Tribe. "Loan" means
  the Plain Green consumer installment loan made by the tribal government lender to Borrower under this Agreement.

  IMPORTANT DISCLOSURE OF THE TERMS AND CONDITIONS OF THIS LOAN

  THE BORROWER EXPRESSLY CONSENTS AND AGREE THAT THIS LOAN IS MADE WITHIN THE TRIBE'S JURISDICTION
  AND IS SUBJECT TO AND GOVERNED BY TRIBAL LAW AND NOT THE LAW OF THE BORROWER'S RESIDENT STATE.
  THE BORROWER IS STRONGLY CAUTIONED THAT IF THE BORROWER DOES NOT UNDERSTAND THIS CONSENT, OR
  DOES NOT WISH TO EXPRESSLY CONSENT TO TRIBAL JURISDICTION OR DOES NOT WISH TO HAVE THE LOAN
  GOVERENED BY LAWS OF THE TRIBE, THEN THE BORROWER SHOULD REFRAIN FROM ACCEPTING THIS LOAN OR
  RESCIND THE LOAN WITHIN THE TERMS OF THIS AGREEMENT. ACCEPTING THIS LOAN SHALL BE DEEMED EXPRESS
  CONSENT TO TRIBAL JURISDICTION AND EXPRESS CONSENT THAT THE LOAN SHALL BE GOVERNED BY THE LAWS
  OF THE TRIBE. THE BORROWER'S RESIDENT STATE'S LAW MAY HAVE INTEREST RATE LIMITS AND OTHER
  CONSUMER PROTECTION PROVISIONS THAT ARE MORE FAVORABLE TO THE BORROWER. IF THE BORROWER
  WISHES TO HAVE THE BORROWER'S RESIDENT STATE'S LAW APPLY TO ANY LOAN THAT THE BORROWER OBTAINS,
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  THE BORROWER SHOULD CONSIDER OBTAINING A LOAN FROM A LICENSED LENDER IN THE BORROWER'S STATE. IN
  ANY EVENT, THE BORROWER SHOULD CAREFULLY EVALUATE THE BORROWER'S FINANCIAL OPTIONS BEFORE
  OBTAINING ANY LOAN.

  PLAIN GREEN LOANS CARRY A HIGH INTEREST RATE AND ARE NOT INTENDED TO PROVIDE A SOLUTION FOR
  LONGER TERM CREDIT OR OTHER FINANCIAL NEEDS. ALTERNATIVE FORMS OF CREDIT MAY BE LESS EXPENSIVE
  AND MORE SUITABLE FOR A BORROWER'S FINANCIAL NEEDS.

  PLEASE CONSIDER YOUR ABILITY TO REPAY A LOAN. IF YOU ARE HAVING FINANCIAL DIFFICULTIES, YOU SHOULD
  SEEK THE ASSISTANCE OF FINANCIAL COUNSELORS. BEFORE SIGNING THIS AGREEMENT, PLEASE CAREFULLY
  READ ITS TERMS. YOUR SIGNATURE AND ACCEPTANCE OF THIS LOAN WILL BE DEEMED PROOF THAT YOU HAVE
  READ THIS AGREEMENT, YOU HAVE APPROVED OF ALL OF ITS TERMS, YOU HAVE EXPRESSLY CONSENTED TO
  TRIBAL JURISDICTION, YOU HAVE PROVIDED THE PLAIN GREEN WITH THE MOST CURRENT AND ACCURATE
  EMPLOYMENT, CREDIT, INCOME, AND ASSET HISTORY REQUIRED FOR PLAIN GREEN TO ASSESS YOUR ELIGIBILITY
  AND CREDITWORTHINESS, AND YOU AFFIRMATIVELY ACKNOWLEDGE THAT YOU ARE ABLE TO REPAY THIS LOAN
  ACCORDING TO THE TERMS OF THIS AGREEMENT.

  TRUTH IN LENDING DISCLOSURES: Plain Green provides the following Truth-In-Lending disclosures so that you can compare
  the cost of this Loan to other loan products you might obtain in the United States. Plain Green's inclusion of these disclosures does
  not mean that Plain Green consents to the application of state or federal law to Plain Green, to the Loan, or this Agreement.
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                                             TRUTH-IN-LENDING DISCLOSURES


               ANNUAL                      FINANCE CHARGE                     Amount Financed                      Total of Payments
         PERCENTAGE RATE                The dollar amount the credit     The amount of credit provided       The amount you will have paid
       The cost of your credit as a            will cost you.              to you or on your behalf.          after making all payments as
              yearly rate.                                                                                             scheduled.


                 277.92%                         $3,051.06                        $1,200.00                           $4,251.06

   PAYMENT SCHEDULE: Your Payment Schedule will be as set forth in the following table, with each due date being referred to
   herein as a "Payment Due Date":


             Number of Payments                       Amount of Payments                          When Payments Are Due

                                                                                                           2/2/2016, 3/2/2016,
                                                                                                           4/2/2016, 5/2/2016,
                                                                                                           6/2/2016, 7/2/2016,
                        14                                     $283.41                                     8/2/2016, 9/2/2016,
                                                                                                         10/2/2016, 11/2/2016,
                                                                                                          12/2/2016, 1/2/2017,
                                                                                                           2/2/2017, 3/2/2017
                        1                                      $283.32                                         4/2/2017

   PREPAYMENT: If you pay off early, you will not have to pay a penalty.
   See the Agreement below for any additional information about nonpayment, default, any required repayment in full before the
   scheduled date, and prepayment refunds and penalties.



    Itemization of Amount Financed:
                                                                                                                                  $1,200.00
    Amount given to you directly:

                                                                                                                                      $0.00
    Plus, Amount paid on your account with Lender - Loan #_____:

                                                                                                                                  $1,200.00
    Equals, Amount Financed:




  PROMISE TO PAY: You promise to pay to the order of Plain Green or to any assignee of Plain Green or subsequent holder of this
  Agreement the principal sum of $1,200.00 plus interest from the Effective Date of this Loan at the rate of 279.9915% per year until
  this Loan is repaid in full. You agree to make payments in the amounts and on or before the Payment Due Dates shown in the
  Payment Schedule above. You also promise to pay to Plain Green or to any assignee of Plain Green or subsequent holder of this
  Agreement all other fees and charges provided for under this Agreement.

  INTEREST: Interest will accrue daily on the unpaid principal balance of this Loan, beginning on the Effective Date, until paid in full.
  Plain Green calculates interest based on a 365-day year. In calculating your payments, Plain Green has assumed you will make
  each payment on the day and in the amount due. If any payment is received after the Payment Due Date, you must pay any
  additional interest that accrues after the Payment Due Date. If any payment is made before a Payment Due Date, the interest due
  on the scheduled payment will be reduced, and you will owe less interest. The amount of any decrease or increase in interest due
  will affect the amount of your final payment.

  If the amount of any payment is not enough to pay the interest due, the unpaid interest will be paid from your next payment(s), if
  any, and will not be added to the principal balance. If your payments are less than the interest due, you will owe more money and it
  will become very difficult to pay off your Loan. Time is of the essence, which means that there are no grace periods for when
  payments must be made. There are no separate late charges if you fail to make payments in accordance with the Payment
  Schedule. However, if you do not make each payment in full on the Payment Due Dates as agreed, Plain Green may continue to
  charge interest on past due amounts at the interest rate set forth in the "Promise to Pay" section. The interest rate and other
  charges under this Agreement will never exceed the highest rate or charge allowed by Tribal Law or this Agreement. If the amount
  collected is found to exceed the highest rate or charge allowed, Plain Green will refund an amount necessary to comply with Tribal
  Law and this Agreement.

  PAYMENTS: Plain Green will apply your payments in the following order: (1) to any fees due, (2) to accrued but unpaid interest,
  and (3) to principal amounts outstanding. If you choose to pay via ACH Authorization, each scheduled payment, plus any fees due
  to Plain Green (if applicable), will be debited from your Bank Account on each Payment Due Date. See the ACH Authorization below
  for further information. If you choose to receive your Loan proceeds via check and to repay all amounts due pursuant to this
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  Agreement via check, money order or certified check, please mail each payment payable to Plain Green, LLC, Payment Processing,
  PO Box 42560, Philadelphia, PA 19101 (or by overnight mail or courier service to Plain Green, LLC c/o MetaSource, 1900 Frost
  Road, Suite 100, Bristol, PA 19007), in time for Plain Green to receive the payment by 5:00 p.m. Eastern Time on the Payment Due
  Date.

  PREPAYMENT: You may prepay this Loan in whole or in part at any time without penalty. If you prepay in part, you must still make
  each later payment according to the Payment Schedule above until this Loan is paid in full. Any amounts you prepay will not
  continue to accrue interest.

  RIGHT OF RESCISSION: You may rescind or cancel this Loan if you do so on or before 5:30 p.m., Eastern Time, on the fifth
  business day after the Origination Date (the "Rescission Deadline"). To cancel, call Plain Green at (866) 420-7157 and request to
  rescind or cancel this Loan. Then, provide Plain Green written notice of rescission as directed by the customer service
  representative.

  If you have provided an ACH Authorization: If Plain Green timely receives your written notice of rescission on or before the
  Rescission Deadline but before the Loan proceeds have been credited to your Bank Account, Plain Green will not deposit your Loan
  proceeds to your Bank Account and both Plain Green's and your obligations under this Agreement will be rescinded. If Plain Green
  timely receives your written notice of rescission on or before the Rescission Deadline but after the Loan proceeds have been
  credited to your Bank Account, Plain Green will debit your Bank Account for the principal amount owing under this Agreement. If
  Plain Green receives payment of the principal amount via the debit, Plain Green's and your obligations under this Agreement will be
  rescinded. If Plain Green does not receive payment of the principal amount via the debit, then the Agreement will remain in full force
  and effect until all amounts owed under this Agreement are repaid in full, including any interest and fees.

  If you have elected to receive your Loan proceeds via check delivered by mail: If Plain Green timely receives your written notice of
  rescission on or before the Rescission Deadline, and (a) if Plain Green has not mailed the check representing the Loan proceeds to
  you or (b) if you have not cashed the check representing the Loan proceeds, then Plain Green will cancel the check and both Plain
  Green's and your obligations under this Agreement will be rescinded. If you have cashed the check representing the Loan proceeds,
  you must return the full amount of cash you received to Plain Green by the Rescission Deadline. If Plain Green receives the full
  amount by the Rescission Deadline, Plain Green's and your obligations under this Agreement will be rescinded. If Plain Green does
  not receive the full amount by the Rescission Deadline, then the Agreement will remain in full force and effect until all amounts owed
  under this Agreement are repaid in full, including any interest and fees.

  Any pre-assessed fee shall not be deemed security for this Loan and shall be returned by a credit entry to your Bank Account within
  three (3) business days of an effective rescission.

  CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree Plain Green may use information from
  your check to (a) make a one-time electronic withdrawal from your Bank Account or (b) process the payment as a check transaction.
  When Plain Green uses information from your check to make a withdrawal from your Bank Account, funds may be withdrawn from
  your Bank Account as soon as the same day Plain Green receives your payment, and you will not receive your check back from
  your financial institution. For questions, please call Plain Green's customer service phone number, (866) 420-7157.

  RETURNED PAYMENT FEES; BORROWER BANK CHARGES: If any payment made by you on this Loan is not honored or
  cannot be processed for any reason, including not enough money in your Bank Account, you agree to pay Plain Green a fee of
  $30.00 and you agree that Plain Green may recover court costs and reasonable attorney's fees incurred by Plain Green. If you have
  elected to repay this Loan via ACH debits to your Bank Account, for each returned payment, you authorize Plain Green and its
  agents and representatives to make a one-time withdrawal from your Bank Account to collect this fee. Your financial institution may
  also charge a fee if your Bank Account becomes overdrawn or if a payment is attempted against your Bank Account that would
  cause it to become overdrawn. You will not hold Plain Green or our agents, representatives, successors or assigns responsible for
  any such fee you must pay.

  SECURITY: No security interest is taken or given in connection with this Loan.

  REFINANCE POLICY: Subject to Plain Green credit policies, Plain Green will determine, in its sole discretion, whether your Loan
  may be refinanced.

  DEFAULT: "Default" of this Agreement will occur if: (a) you provide false or misleading information about yourself, your
  employment or your financial condition prior to entering into this Agreement, (b) you fail to make a payment in full by the applicable
  Payment Due Date or if your payment is returned to Plain Green for any reason, or (c) you file bankruptcy or become a debtor under
  U.S. federal bankruptcy laws.

  CONSEQUENCES OF DEFAULT: In the event of a Default, Plain Green may choose to do any one or more of the following things:
  (a) require you to immediately pay everything you owe under this Agreement; (b) if you have elected to repay this Loan via ACH
  debits to your Bank Account, continue to withdraw regularly scheduled payments and fees from your Bank Account; and (c) pursue
  all legally available means to collect the balance due. By signing this Agreement you waive notice of default, dishonor, demand for
  payment, protest, presentment, and any other notice. Amounts you owe Plain Green may include the unpaid principal balance of
  this Loan, all unpaid accrued fees and interest (including unpaid interest owing on past due amounts), and any costs and fees Plain
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  Green incurs in connection with this Agreement. By choosing to exercise any one of more of these remedies, Plain Green does not
  waive its right to use another remedy later. Plain Green may decide not to use any of the remedies described above. In any event,
  Plain Green shall have and may exercise any and all rights and remedies available to it through tribal law and or in equity. Any
  claims or defenses whatsoever asserted by or on behalf of Borrower shall be subject to the dispute resolution process and
  jurisdiction agreed to in this Agreement.

  CREDIT REPORTING: You agree that Plain Green may make inquiries concerning your credit history and standing, and may report
  information concerning your performance under this Agreement to credit reporting agencies. Late payments, missed payments or
  other defaults on your Loan may be reflected in your credit report.

  CHANGE OF PRIMARY RESIDENCE: You agree to notify Plain Green of any change in your primary residence as soon as
  practicable, but no later than five (5) days after any change. You agree that the address provided on this Agreement will govern this
  Agreement until you have met all obligations under this Agreement and that any subsequent change in your primary residence will
  not affect the terms or enforceability of this Agreement.

  CORRESPONDENCE WITH LENDER: General correspondence with Plain Green concerning this Loan, this Agreement or your
  relationship with Plain Green must be directed to Plain Green at the following address: Plain Green, LLC, 93 Mack Road, Suite 600,
  PO Box 270, Box Elder, Montana 59521. Communications related to the bankruptcy of the Borrower must be directed to Plain
  Green at the following address: Plain Green, LLC, Attn: Bankruptcy Handling, 93 Mack Road, Suite 600, PO Box 270, Box Elder,
  Montana 59521.

  FORCE MAJEURE: Unavoidable delays as a result of inadvertent processing errors and/or "acts of God" may extend the time for
  the deposit of Loan proceeds and the processing of payments owing hereunder.

  TRANSFER OF RIGHTS; HYPOTHECATION AND MAINTENANCE OF REGISTER: This instrument is non-negotiable in form but
  may be pledged as collateral security. If so pledged, any payment made to the payee, either of principal or of interest, upon the debt
  evidenced by this obligation, shall be considered and construed as a payment on this instrument, the same as though it were still in
  the possession and under the control of the payee named herein; and the pledgee holding this instrument as collateral security
  hereby makes said payee its agent to accept and receive payments hereon, either of principal or of interest.

  You agree that Plain Green may assign or transfer this Agreement, or any of our rights hereunder, to any other person or entity
  without prior notice to or consent from you. Regardless of any transfer, this Agreement shall remain exclusively subject to Tribal Law
  and remain within jurisdiction of the courts of the Tribe. Plain Green (in its capacity as "Registrar"), acting solely for this purpose as
  your irrevocably appointed agent, shall maintain at an office located in the United States a copy of each assignment of this
  Agreement delivered to it and a register (the "Register") for the recordation of the names and addresses of the original owner,
  assignees, and persons holding participation interests in the Loan, and the amounts of principal and interest owing to each from
  time to time pursuant to the terms of this Loan. The Register may be in electronic form. The entries of the Register shall be
  conclusive, and you, the Registrar, the Plain Green and all of its assignees and participants shall treat each person whose name is
  recorded in the Register pursuant to these terms as the owner of such principal and interest payments for all purposes of this
  Agreement, notwithstanding notice to the contrary. The name of the owner in the Register shall be available to you by written
  request to Plain Green, as Registrar, at any reasonable time and from time to time upon reasonable prior notice. The foregoing is
  intended to result in this Agreement being in "registered form" within the meaning of U.S. Treasury Regulations Section 1.871-14(c)
  and Sections 163(f), 871(h) and 881(c) of the Internal Revenue Code of 1986, as amended, and shall be interpreted and applied in
  a manner consistent therewith. Any fees and expenses of Plain Green as Registrar for its services shall be charged to the registered
  owner of the loan and not to you.

  SUCCESSORS AND ASSIGNS: This Agreement is binding upon your heirs and personal representatives in probate and upon
  anyone to whom you assign your assets or who succeeds you in any other way; provided, however, that you may not assign or
  transfer this Agreement except with Plain Green's prior written consent.

  SERVICING COMMUNICATIONS AND COMMUNICATIONS AFTER DEFAULT: You authorize Plain Green and its authorized
  representatives to contact you according to your consent provided in your application or according to your account preferences, as
  modified by you after submitting your application. This may include (i) calling you during reasonable hours at any of the phone
  numbers listed on your most recent application (a) prior to each Payment Due Date to remind you of the payment due and (b) and
  for other matters related to your account, (ii) contacting you by text message or other wireless communication method on the mobile
  phone number listed on your application, (iii) leaving a message with a person or a voice mail service, and (iv) contacting you using
  auto-dialers or pre-recorded messages, including calls to your mobile phone.


                                                         ACH AUTHORIZATION
                           (applies only if (a) you select the electronic funding/payment option below or
                                             (b) authorize recurring Debit Card payments)

   This ACH Authorization is a part of and relates to this Agreement. You voluntarily authorize Plain Green, and our successors,
   affiliates, agents, representatives, employees and assigns, to initiate automatic credit and debit entries to your Bank Account in
   accordance with this Agreement. You agree that Plain Green will initiate a credit entry to your Bank Account for the Amount
   Financed on or about the Disbursement Date. You agree that Plain Green will initiate a debit entry to your Bank Account on each
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   Payment Due Date in the payment amount described in the Payment Schedule. For each scheduled payment, whenever a debit
   entry to your Bank Account is returned to Plain Green for any reason, Plain Green may initiate a debit entry to your Bank Account
   up to two additional times after the first attempt for each scheduled payment amount. You also agree that Plain Green will initiate
   a debit entry for any accrued returned payment fees and any interest that accrues on overdue amounts. If your payment is due
   on a non-business day, it will be processed on the next business day.

   You agree that this ACH Authorization is for repayment of a consumer installment loan and that payments shall recur at
   substantially regular intervals as set forth in this Agreement. This ACH Authorization is to remain in full force and effect for this
   transaction until you pay your Loan, including any interest and fees, in full. You may revoke this ACH Authorization by contacting
   Plain Green directly or by contacting your financial institution. If you revoke your ACH Authorization, you agree to make payments
   to Plain green by check, certified check or money order as set forth in the "Payments" section above. In no event will any
   revocation of this ACH Authorization be effective with respect to entries processed by Plain Green prior to its receiving such
   revocation.

   You agree that Plain Green may obtain information about you and your Bank Account from your bank and/or consumer reporting
   agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any missing or incorrect information in or
   with your application regarding your bank, bank routing number, or account number, then you authorize Plain Green to verify and
   correct such information.

   Your bank may charge you a fee in connection with Plain Green's credit and/or debit entries. Contact your financial institution for
   more information specific to your Bank Account.

   This ACH Authorization is subject to the following provisions:

   (1) Right to stop payment and procedure for doing so. If you have told Plain Green in advance to make regular payments out of
   your Bank Account, you can stop any of these payments. Here's how: Call Plain Green at (866) 420-7157, or send a written
   request to Plain Green, 93 Mack Road, Suite 600, PO Box 270, Box Elder, Montana 59521. In order for a cancellation request to
   be effective by a specific date or for a specific payment, Plain Green must receive the cancellation request three (3) business
   days or more before that date or before that payment is scheduled to be made. If you call, Plain Green may also require you to
   put your request in writing and submit to Plain Green within 14 days of your call.

   (2) Liability for failure to stop payment of preauthorized transfer. If you order Plain Green to stop a payment at least three (3)
   business days or more before the debit is scheduled, and Plain Green fails to stop such payment, Plain Green will be liable for
   your losses or damages.

   (3) Notice of varying amounts. You will receive a notice at least 10 days before a payment is debited from your Bank Account if
   the payment Plain Green is going to debit from your Bank Account varies from the amount disclosed in the Schedule of
   Payments above. You have the right to receive notice of all varying amounts.

   This ACH Authorization is a payment mechanism only and does not give Plain Green collection rights greater than those
   otherwise contained in this Agreement. This ACH Authorization does not constitute and is not intended to constitute a security
   interest under Tribal Law.

   If you associate one or more debit cards with your account with Plain Green (each a "Debit Card") and authorize Plain Green to
   initiate recurring payments on your Loan using a Debit Card, the terms of the foregoing ACH Authorization will apply equally to
   recurring payments made by Debit Card.


  ENTIRE AGREEMENT; SEVERABILITY. This Agreement, including the Waiver of Jury Trial and Arbitration Agreement, constitutes
  the entire agreement between Borrower and Plain Green, and it may not be contradicted by evidence of prior or contemporaneous
  oral agreements between them. If any provision of this Agreement is held unenforceable, including any provision of the Waiver of
  Jury Trial and Arbitration Agreement, the remainder of this Agreement shall remain in full force and effect.

  GOVERNING LAW; NON-APPLICABILITY OF STATE LAW; INTERSTATE COMMERCE: This Agreement and the Agreement to
  Arbitrate are governed by Tribal Law. The Agreement to Arbitrate also comprehends the application of the Federal Arbitration Act,
  as provided below. Plain Green does not have a presence in Montana or any other state of the United States of America. Neither
  this Agreement nor the Plain Green is subject to the laws of any state of the United States. Plain Green may choose to voluntarily
  use certain federal laws as guidelines for the provision of services. Such voluntary use does not represent acquiescence of the
  Chippewa Cree Tribe to any federal law unless found expressly applicable to the operations of the Chippewa Cree Tribe. You and
  Plain Green agree that the transaction represented by this Agreement involves interstate commerce for all purposes.


                                     WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT
   This Agreement includes the following binding Waiver of Jury Trial and Arbitration Agreement (the "Agreement to
   Arbitrate"). You may opt out of the Agreement to Arbitrate by following these instructions:

   RIGHT TO OPT-OUT: IF YOU DO NOT AGREE TO ARBITRATE ALL DISPUTES (DEFINED BELOW) IN ACCORDANCE
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   WITH THE TERMS AND CONDITIONS OF THE AGREEMENT TO ARBITRATE, YOU MUST ADVISE PLAIN GREEN IN
   WRITING EITHER BY (A) MAIL DELIVERY OF A LETTER POSTMARKED NO LATER THAN 60 DAYS FOLLOWING THE
   ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT, TO 93 MACK ROAD, PO BOX 270, BOX ELDER,
   MONTANA 59521, OR (B) EMAIL DATED NO LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT
   THE TOP OF THIS AGREEMENT TO SUPPORT@PLAINGREENLOANS.COM . YOUR OPT-OUT CORRESPONDENCE
   MUST CLEARLY PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE
   THAT YOU REJECT ARBITRATION. YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE IF IT IS NOT IN
   WRITING OR IF IT IS DATED LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF
   THIS AGREEMENT; IT IS NOT SUFFICIENT TO TELEPHONE PLAIN GREEN. IN THE EVENT YOU OPT OUT OF THE
   AGREEMENT TO ARBITRATE, ANY DISPUTES SHALL BE GOVERNED UNDER TRIBAL LAW AND MUST BE BROUGHT IN
   THE CHIPPEWA CREE TRIBAL COURT.

   PLEASE CAREFULLY READ THIS AGREEMENT TO ARBITRATE. UNLESS YOU EXERCISE YOUR RIGHT TO OPT-OUT
   OF ARBITRATION AS DESCRIBED ABOVE, YOU AGREE THAT ANY DISPUTE YOU HAVE RELATED TO THIS
   AGREEMENT WILL BE RESOLVED THROUGH BINDING ARBITRATION. ARBITRATION REPLACES LITIGATION. BY
   AGREEING TO ARBITRATE ANY DISPUTES, YOU WAIVE YOUR RIGHT TO GO TO COURT, YOUR RIGHT TO HAVE A
   JUDGE OR JURY, YOUR RIGHT TO ENGAGE IN DISCOVERY (EXCEPT AS MAY BE PROVIDED IN THE ARBITRATION
   RULES), AND YOUR RIGHT TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF ANY CLASS OF CLAIMANTS
   OR IN ANY CONSOLIDATED ARBITRATION PROCEEDING OR AS A PRIVATE ATTORNEY GENERAL. OTHER RIGHTS
   THAT YOU WOULD HAVE IF YOU WENT TO COURT MAY ALSO BE UNAVAILABLE IN ARBITRATION.

   AGREEMENT TO ARBITRATE: You and Plain Green agree that any Dispute (defined below) will be resolved by Arbitration.

   WHAT ARBITRATION IS: "Arbitration" is a form of alternative dispute resolution where Disputes are presented to an
   independent third party for resolution. A "Dispute" is any claim or controversy of any kind between you and Plain Green or
   otherwise involving this Agreement or the Loan. The term Dispute is to be given its broadest possible meaning and includes,
   without limitation, all federal, state or Tribal Law claims or demands (whether past, present, or future), based on any legal or
   equitable theory and regardless of the type of relief sought (i.e., money, injunctive relief, or declaratory relief). A Dispute includes
   any issue concerning the validity, enforceability, or scope of this Agreement or this Agreement to Arbitrate.

   For purposes of this Agreement to Arbitrate, (a) the terms "you" and "your" include any co-signer and also your heirs, guardian,
   personal representative, or trustee in bankruptcy, and (b) the term "Plain Green" means Plain Green, LLC as the Lender, Plain
   Green's affiliated companies, the Tribe, Plain Green's servicing and collection representatives and agents, and each of their
   respective agents, representatives, employees, officers, directors, members, managers, attorneys, successors, predecessors,
   and assigns.

   HOW ARBITRATION WORKS: If a Dispute arises, the party asserting the claim or demand must initiate arbitration, provided you
   or Plain Green may first try to resolve the matter informally or through customary business methods, including collection activity.
   The party requesting arbitration must choose either of the following arbitration firms for initiating and pursuing arbitration: the
   American Arbitration Association ("AAA") or JAMS, The Resolution Experts ("JAMS"). If you claim you have a Dispute with Plain
   Green, but do not initiate arbitration or select an arbitration firm, Plain Green may do so. You may obtain copies of the current
   rules of each of the arbitration firms and forms and instructions for initiating arbitration by contacting them as follows:

                     JAMS, The Resolution Experts                                     American Arbitration Association
                     1920 Main Street, Ste 300                                        335 Madison Ave, Floor 10
                     Irvine, CA 92614                                                 New York, NY 10017-4605
                     Website: http://www.jamsadr.com/                                 Website: http://www.adr.org/
                     Telephone: (949) 224-1810 or (800) 352-5267                      Telephone: (800) 778-7879


   The policies and procedures of the selected arbitration firm applicable to consumer transactions will apply provided such policies
   and procedures do not contradict this Agreement to Arbitrate or Tribal Law. To the extent the arbitration firm's rules or procedures
   are different than the terms of this Agreement to Arbitrate, the terms of this Agreement to Arbitrate will apply.

   WHAT ARBITRATION COSTS: No matter which party initiates the arbitration, Plain Green will advance or reimburse filing fees
   and other costs or fees of arbitration, provided each party will be initially responsible for its own attorneys' fees and related costs.
   Unless prohibited by Tribal Law, the arbitrator may award fees, costs, and reasonable attorneys' fees to the party who
   substantially prevails in the arbitration.

   LOCATION OF ARBITRATION: Any arbitration under this Agreement may be conducted either on Tribal land or within thirty
   (30) miles of your then current residence, at your choice, provided that this accommodation for you shall not be construed in any
   way (a) as a relinquishment or waiver of the sovereign status or immunity of the Tribe, or (b) to allow for the application of any
   law other than Tribal Law.

   WAIVER OF RIGHTS: BY ENTERING INTO THIS AGREEMENT, YOU ACKNOWLEDGE AND AGREE THAT YOU ARE
   WAIVING YOUR RIGHT TO (A) HAVE A JURY TRIAL TO RESOLVE DISPUTES, (B) HAVE A COURT RESOLVE DISPUTES,
   (C) PARTICIPATE IN A CLASS ACTION LAWSUIT, AND (D) HAVE ACCESS TO DISCOVERY AND OTHER PROCEDURES
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   THAT ARE AVAILABLE IN A LAWSUIT.

   The arbitrator has the ability to award all remedies available under Tribal Law, whether at law or in equity, to the prevailing party,
   except that you and Plain Green agree that the arbitrator has no authority to conduct class-wide proceedings and will be
   restricted to resolving individual Disputes. The validity, effect, and enforceability of the waivers of class action lawsuit and class-
   wide arbitration, if challenged, are to be determined solely by a Tribal court of competent jurisdiction and not by the AAA, JAMS,
   or an arbitrator. If the Tribal court refuses to enforce the class-wide arbitration waiver, the parties agree that the Dispute will
   proceed in Tribal court and will be decided by a Tribal court judge, sitting without a jury, under applicable Tribal court rules and
   procedures, and not as a class action lawsuit. As an integral component of accepting this Agreement, you irrevocably consent to
   the exclusive jurisdiction of the Tribal courts for purposes of this Agreement.

   APPLICABLE LAW AND JUDICIAL REVIEW OF ARBITRATOR'S AWARD: THIS AGREEMENT TO ARBITRATE IS MADE
   PURSUANT TO A TRANSACTION INVOLVING INTERSTATE COMMERCE AND SHALL BE GOVERNED BY TRIBAL LAW.
   THE PARTIES ADDITIONALLY AGREE TO LOOK TO THE FEDERAL ARBITRATION ACT AND JUDICIAL
   INTERPRETATIONS THEREOF FOR GUIDANCE IN ANY ARBITRATION THAT MAY BE CONDUCTED HEREUNDER. The
   arbitrator shall apply Tribal Law and the terms of this Agreement, including this Agreement to Arbitrate and the waivers included
   herein. The arbitrator may decide, with or without a hearing, any motion that is substantially similar to a motion to dismiss for
   failure to state a claim or a motion for summary judgment. The arbitrator shall make written findings and the arbitrator's award
   may be filed with a Tribal court. The arbitration award shall be supported by substantial evidence and must be consistent with this
   Agreement and Tribal Law, and if it is not, it may be set aside by a Tribal court upon judicial review. The parties will have the right
   to judicial review in a Tribal court of (a) whether the findings of fact rendered by the arbitrator are supported by substantial
   evidence and (b) whether the conclusions of law are erroneous under Tribal Law. Judgment confirming an award in such a
   proceeding may be entered only if a Tribal court determines that the award is supported by substantial evidence and is not based
   on legal error under Tribal Law.

   SURVIVAL: This Agreement to Arbitrate will survive: (1) the cancellation, payment, charge-off, or assignment of this Agreement;
   (2) the bankruptcy of any party; and (3) any transfer, sale, or assignment of this Agreement, or any amounts owed under this
   Agreement, to any other person or entity.



  PLEASE CAREFULLY REVIEW THIS AGREEMENT, WHICH INCLUDES A WAIVER OF JURY TRIAL AND ARBITRATION
  AGREEMENT THAT MAY BE ENFORCED BY YOU AND PLAIN GREEN. IF YOU HAVE QUESTIONS, PLEASE CONTACT
  CUSTOMER SERVICE AT (866) 420-7157.

  By electronically signing this Agreement: You certify that all information you gave Plain Green in connection with your
  application and this Agreement is true and correct, and you authorize Plain Green to verify any information you provided. You give
  Plain Green consent to obtain information about you from one or more consumer reporting agencies and other sources. You
  acknowledge that: (a) you have read, understand, and agree to all of the terms and conditions of (i) this Agreement,
  including the truth-in-lending disclosures and the Waiver of Jury Trial and Arbitration Agreement, and (ii) Plain Green's
  Privacy Policy; (b) this Agreement contains all of the terms of the agreement between you and Plain Green and that no
  representations or promises other than those contained in this Agreement have been made; (c) if you elect below to repay
  this Loan via ACH debits to your Bank Account, you specifically authorize withdrawals and deposits to and from your
  Bank Account as described in this Agreement; (d) you are not a debtor under any proceeding in bankruptcy and have no
  intention to file a petition for relief under any chapter of the United States Bankruptcy Code; (e) this Agreement was filled
  in before you signed it; (f) you have the ability to print or retain a completed copy of this Agreement; and (g) Plain Green
  has not made the Loan contingent upon your obtaining any other product or service from Plain Green or anyone else. You
  further acknowledge that Plain Green may withhold funding of your Loan until (i) Plain Green confirms that you have made all
  payments on any previous loans with Plain Green, (ii) Plain Green verifies that all information you gave Plain Green on your
  application is true and (iii) Plain Green decides whether you meet the requirements to receive the Loan.


  Check Here
  b By checking here and signing below, you understand, acknowledge and agree that Plain Green, LLC is a tribal lending
  c
  d
  e
  f
  g
  entity wholly owned by Chippewa Cree Tribe of the Rocky Boy’s Indian Reservation, Montana, a federally recognized tribe.
  You further understand, acknowledge and agree that this Loan is governed by the laws of the Chippewa Cree Tribe and is
  not subject to the provisions or protections of the laws of your home state or any other state. If you wish to have your
  resident state’s law apply to any loan that you obtain, you should consider obtaining a loan from a licensed lender in your
  state.


  Please review and select one of these funding options:

  Check Here

   i ELECTRONIC (as soon as the next business day): By checking here and signing below, you agree to the ACH Authorization set forth in
   j
   k
   l
   m
   n
  this Agreement, which allows Plain Green to debit and credit your Bank Account for this Loan. You acknowledge and agree that the ACH
  Authorization is for the benefit of Plain Green, LLC, its affiliates, agents, representatives, employees, successors, and registered assigns. You
  acknowledge that you are not required to consent to receive funds or repay your Loan by ACH or other electronic payment method.
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    j POSTAL MAIL (allow 7 to 10 days for delivery): By checking here and signing below, you request Loan proceeds be distributed to you
    k
    l
    m
    n
   by check and delivered by regular mail through the U.S. Postal Service. If you elect to receive your proceeds by mail, you must make
   payments as explained in the "Payments" section above. You acknowledge that interest begins accruing on the Effective Date set forth at the
   top of this Agreement.

   Your Full Name:                          Type 'I Agree':               Date:
   Darlene Jones Gibbs                      I Agree                       1/6/2016



   Plain Green, LLC
                                                       Date:
                                                       1/6/2016

   By: Joel Rosette, CEO
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                   EXHIBIT 2
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                   THIS AGREEMENT SHALL NOT CONSTITUTE A “NEGOTIABLE INSTRUMENT”

                                Consumer Installment Loan Agreement
                                            Loan Number: 74097924

                                          Great Plains Lending, LLC
                                      Otoe-Missouria Indian Reservation
                                            Red Rock, OK 74651
                                              (877) 836-1506

 Lender:                                              Borrower's Name:
 Great Plains Lending, LLC                            Lula Bell Williams

 Origination Date: 10/5/2016                          Borrower's ID:
 This is the date you signed and                      *******1647
 submitted
 this Agreement to the Lender.                        Borrower's Address:
                                                      REDACTED
 Disbursement Date: On or
 about 10/5/2016
 This is the date that the Loan proceeds              Borrower's Bank and Account Number
 are released.                                        for ACH Transfers (the "Bank Account"):
                                                      united methodist credit union REDACTED
 Effective Date: 10/6/2016
 This is the date that interest begins to
 accrue.

 Final Payment Due Date: 4/3/2018
 This is the Loan maturity date.

 In this Consumer Installment Loan Agreement (this “Agreement”), “you” and “your” refer to
 the Borrower identified above. “We”, “us”, “our”, and “Lender” refer to Great Plains Lending,
 LLC, a lender authorized by the laws of the Otoe-Missouria Tribe of Indians (the “Otoe-
 Missouria Tribe” or “Tribe”), a federally recognized Indian Tribe, and any assignee of Lender or
 subsequent holder of this Agreement. “Tribal” refers to the Otoe-Missouria Tribe, and “Tribal
 Law” means any law or regulation duly enacted by the Otoe-Missouria Tribe. “Loan” means the
 consumer installment loan made by Lender to Borrower under this Agreement.

 IMPORTANT DISCLOSURE
 PLEASE READ THIS DISCLOSURE CAREFULLY BEFORE SIGNING THIS AGREEMENT. LENDER IS AN
 ARM OF THE TRIBE, IT IS A COMMERCIAL ENTITY FORMED PURSUANT TO TRIBAL LAW, IT IS
 OWNED AND OPERATED BY THE TRIBE AND IT FUNCTIONS AS A NON-PROFIT COMMERCIAL
 ENTITY OF THE TRIBE, FORMED FOR THE EXPRESS PURPOSE OF ECONOMIC DEVELOPMENT. BOTH
 THE LENDER AND THE TRIBE ARE IMMUNE FROM SUIT IN ANY COURT UNLESS THE TRIBE,
 THROUGH ITS TRIBAL COUNCIL, EXPRESSLY WAIVES THAT IMMUNITY THROUGH A FORMAL,
 WRITTEN RESOLUTION OF THE TRIBE’S TRIBAL COUNCIL. THE LENDER IS REGULATED BY THE
 TRIBE’S CONSUMER FINANCE SERVICES REGULATORY COMMISSION (THE “COMMISSION”). YOUR
 RIGHT TO SUBMIT COMPLAINTS IS LIMITED TO THE DISPUTE RESOLUTION PROCESS SET FORTH
 IN THIS AGREEMENT AND TO THE COMMISSION IN ACCORDANCE WITH THE TRIBE’S CONSUMER
 LENDING CODE AND ACCOMPANYING REGULATIONS, IF ANY.


 YOU AGREE THAT THIS LOAN IS MADE WITHIN THE TRIBE’S JURISDICTION AND IS SUBJECT TO
 AND GOVERNED BY TRIBAL LAW AND NOT THE LAW OF YOUR RESIDENT STATE. IN MAKING THIS
 LOAN, YOU CONSENT TO TRIBAL JURISDICTION FOR THIS LOAN. YOUR RESIDENT STATE LAW
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 MAY HAVE INTEREST RATE LIMITS AND OTHER CONSUMER PROTECTION PROVISIONS THAT ARE
 MORE FAVORABLE. IF YOU WISH TO HAVE YOUR RESIDENT STATE LAW APPLY TO ANY LOAN
 THAT YOU TAKE OUT, YOU SHOULD CONSIDER TAKING A LOAN FROM A LICENSED LENDER IN
 YOUR STATE. IN ANY EVENT, YOU SHOULD CAREFULLY EVALUATE YOUR FINANCIAL OPTIONS
 BEFORE TAKING OUT A LOAN. THIS LOAN HAS A HIGH INTEREST RATE AND IT IS NOT INTENDED
 TO PROVIDE A SOLUTION FOR LONGER TERM CREDIT OR OTHER FINANCIAL NEEDS.
 ALTERNATIVE FORMS OF CREDIT MAY BE LESS EXPENSIVE AND MORE SUITABLE FOR YOUR
 FINANCIAL NEEDS. PLEASE CONSIDER YOUR ABILITY TO REPAY THE LOAN. IF YOU ARE HAVING
 FINANCIAL DIFFICULTIES, YOU SHOULD SEEK THE ASSISTANCE OF FINANCIAL COUNSELORS.
 BEFORE SIGNING THIS AGREEMENT, PLEASE CAREFULLY READ ITS TERMS. YOUR SIGNATURE AND
 ACCEPTANCE OF THIS LOAN WILL BE DEEMED AS PROOF THAT YOU HAVE READ THIS
 AGREEMENT, YOU HAVE APPROVED OF ALL OF ITS TERMS, INCLUDING CONSENTING TO TRIBAL
 JURISDICTION, YOU HAVE PROVIDED THE LENDER WITH THE MOST CURRENT AND ACCURATE
 EMPLOYMENT, CREDIT, INCOME, AND ASSET HISTORY REQUIRED FOR LENDER TO ASSESS YOUR
 ELIGIBILITY AND CREDITWORTHINESS, AND AFFIRMATIVELY ACKNOWLEDGE THAT YOU ARE
 ABLE TO REPAY THE LOAN ACCORDING TO THE TERMS OF THIS AGREEMENT.


 TRUTH IN LENDING DISCLOSURES: We provide the following truth-in-lending disclosures so that you can
 compare the cost of this Loan to other loan products you might obtain in the United States. Our inclusion of
 these disclosures does not mean that we or any subsequent holder of this Agreement consent to application
 of state or federal law to us, to the Loan, or this Agreement.

                                     TRUTH-IN-LENDING DISCLOSURES



         ANNUAL                 FINANCE CHARGE            Amount Financed           Total of Payments
     PERCENTAGE RATE
                               The dollar amount the     The amount of credit       The amount you will
     The cost of your credit    credit will cost you.    provided to you or on     have paid after making
        as a yearly rate.                                     your behalf.            all payments as
                                                                                         scheduled.

           247.68%                   $3,924.21                 $1,400.00                 $5,324.21


  PAYMENT SCHEDULE: Your Payment Schedule will be as set forth in the following table, with each due
  date being referred to herein as a “Payment Due Date”:

         Number of Payments                 Amount of Payments              When Payments Are Due


                                                                               11/3/2016, 12/3/2016,
                                                                                1/3/2017, 2/3/2017,
                                                                                3/3/2017, 4/3/2017,
                                                                                5/3/2017, 6/3/2017,
                   17                              $295.76                      7/3/2017, 8/3/2017,
                                                                                9/3/2017, 10/3/2017,
                                                                               11/3/2017, 12/3/2017,
                                                                                1/3/2018, 2/3/2018,
                                                                                      3/3/2018


                    1                              $296.29                           4/3/2018


  PREPAYMENT: If you pay off early, you will not have to pay a penalty.
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  See the Agreement below for any additional information about nonpayment, default, any required
  repayment in full before the scheduled date, and prepayment refunds and penalties.




    Itemization of Amount Financed:

    Amount given to you directly:                                                                    1400.00

    Plus, Amount paid on your account with Lender - Loan # ________:                                   $0.00

    Equals, Amount Financed:                                                                       $1,400.00


 PROMISE TO PAY: You promise to pay to the order of Lender the principal sum of $1,400.00 plus interest
 from the Effective Date of this Loan at the rate of 249.0030% per year until this loan is repaid in full. You
 agree to make payments in the amounts and on or before the Payment Due Dates shown in the Payment
 Schedule above. You also promise to pay to Lender all other fees and charges provided for under this
 Agreement.

 INTEREST: Interest will accrue daily on the unpaid principal balance of this Loan, beginning on the Effective
 Date, until paid in full. We calculate interest based on a 365-day year. In calculating your payments, we have
 assumed you will make each payment on the day and in the amount due. If any payment is received after
 the Payment Due Date, you must pay any additional interest that accrues after the Payment Due Date. If any
 payment is made before a Payment Due Date, the interest due on the scheduled payment will be reduced,
 and you will owe less interest. The amount of any decrease or increase in interest due will affect the amount
 of your final payment. If the amount of any payment is not enough to pay the interest due, the unpaid
 interest will be paid from your next payment(s), if any, and will not be added to the principal balance. Time is
 of the essence, which means that there are no grace periods for when payments must be made. There is no
 separate late charge if you fail to make payments in accordance with the Payment Schedule. However, if you
 do not make each payment in full on the Payment Due Dates as agreed, Lender may continue to charge
 interest on past due amounts at the interest rate set forth in the “Promise to Pay” section. The interest rate
 and other charges under this Agreement will never exceed the highest rate or charge allowed by Tribal Law
 for this Loan. If the amount collected is found to exceed the highest rate or charge allowed, Lender will
 refund an amount necessary to comply with Tribal Law.

 PAYMENTS: Lender will apply your payments in the following order: (1) to any fees due, (2) to accrued but
 unpaid interest, and (3) to principal amounts outstanding. If you have chosen the ACH Authorization option,
 each scheduled payment, plus any fees due to us (if applicable), will be debited from your Bank Account on
 each Payment Due Date. See the ACH Authorization below for further information.

 If you have chosen to receive your Loan proceeds via check and to repay all amounts due pursuant to this
 Agreement via check, money order or certified check, please mail each payment payable to Great Plains
 Lending, LLC, P.O. Box 42906, Philadelphia, PA 19101 (or by overnight mail or courier service to Great Plains
 Lending c/o MetaSource, 1900 Frost Road, Suite 100, Bristol, PA 19007), for forwarding to and receipt and
 processing on the Otoe-Missouria Indian reservation, in time for Lender to receive the payment by 5:00 p.m.
 Eastern Time on the Payment Due Date.

 PREPAYMENT: You may prepay this Loan in whole or in part at any time without penalty. If you prepay in
 part, you must still make each later payment according to the Payment Schedule above until this Loan is paid
 in full. Any amounts you prepay will not continue to accrue interest.

 RIGHT OF RESCISSION: You may rescind or cancel this Loan if you do so on or before 5:30 p.m., Eastern
 Time, on the fifth business day after the Origination Date (the “Rescission Deadline”). To cancel, call Lender
 at (877) 836-1506 to tell us you want to rescind or cancel this Loan and provide us written notice of
 rescission as directed by our customer service representative.

 If you have provided an ACH Authorization: If we timely receive your written notice of rescission on or
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 before the Rescission Deadline but before the Loan proceeds have been credited to your Bank Account, we
 will not deposit your Loan proceeds to your Bank Account and both ours and your obligations under this
 Agreement will be rescinded. If we timely receive your written notice of rescission on or before the Rescission
 Deadline but after the Loan proceeds have been credited to your Bank Account, we will debit your Bank
 Account for the principal amount owing under this Agreement. If we receive payment of the principal amount
 via the debit, ours and your obligations under this Agreement will be rescinded. If we do not receive payment
 of the principal amount via the debit, then the Agreement will remain in full force and effect until all amounts
 owed under this Agreement are repaid in full, including any interest and fees.

 If you have elected to receive your Loan proceeds via check delivered by mail: If we timely receive your
 written notice of rescission on or before the Rescission Deadline, and (a) if we have not mailed the check
 representing the Loan proceeds to you or (b) if you have not cashed the check representing the Loan
 proceeds, then we will cancel the check and both ours and your obligations under this Agreement will be
 rescinded. If you have cashed the check representing the Loan proceeds, you must return the full amount of
 cash you received to us by the Rescission Deadline. If we receive the full amount by the Rescission Deadline,
 ours and your obligations under this Agreement will be rescinded. If we do not receive the full amount by the
 Rescission Deadline, then the Agreement will remain in full force and effect until all amounts owed under this
 Agreement are repaid in full, including any interest and fees.

 Any pre-assessed fee shall not be deemed security for this Loan and shall be returned by a credit entry to
 your Bank Account within three (3) business days of an effective rescission.

 CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either
 use information from your check to make a one-time electronic withdrawal from your Bank Account or to
 process the payment as a check transaction. When we use information from your check to make a
 withdrawal from your Bank Account, funds may be withdrawn from your Bank Account as soon as the same
 day we receive your payment, and you will not receive your check back from your financial institution. For
 questions, please call our customer service phone number, (877) 836-1506.

 RETURNED PAYMENT FEES; BORROWER BANK CHARGES: If any payment made by you on this Loan is
 not honored or cannot be processed for any reason, including not enough money in your Bank Account, you
 agree to pay us a fee of $30.00 and you agree that we may recover court costs and reasonable attorney’s
 fees incurred by us. If you have elected to repay this Loan via ACH debits to your Bank Account, for each
 returned payment, you authorize Lender and its agents and representatives to make a one-time withdrawal
 from your Bank Account to collect this fee. Your financial institution may also charge a fee if your Bank
 Account becomes overdrawn or if a payment is attempted against your Bank Account that would cause it to
 become overdrawn. You will not hold us or our agents, representatives, successors or assigns responsible for
 any such fee you must pay.

 SECURITY: No security interest is taken or given in connection with this Loan.

 REFINANCE POLICY: Subject to our credit policies, we will determine, in our sole discretion, whether your
 Loan may be refinanced.

 DEFAULT: You will have broken your promise you made to us in this Agreement (each, a “Default”) if: (a)
 you provide false or misleading information about yourself, your employment or your financial condition prior
 to entering into this Agreement, (b) you fail to make a payment in full by the applicable Payment Due Date
 or if your payment is returned to us for any reason, or (c) you file bankruptcy or become a debtor under U.S.
 federal bankruptcy laws.

 CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we
 may, at our option, do any one or more of the following things: (a) require you to immediately pay us
 everything you owe us under this Agreement; (b) if you have elected to repay this Loan via ACH debits to
 your Bank Account, withdraw money from your Bank Account that was not available when we tried to
 withdraw it at an earlier time; and (c) pursue all legally available means to collect what you owe us. By
 signing this Agreement you waive notice of default, dishonor, demand for payment, protest, presentment,
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 and any other notices. Amounts you owe Lender includes the unpaid principal balance of this Loan, all unpaid
 accrued fees and interest (including unpaid interest owing on past due amounts), and any costs and fees
 Lender incurs in connection with this Agreement. In the event we declare all amounts owed under this
 Agreement immediately due because you did not pay us, then, if you have elected to repay this Loan via ACH
 debits to your Bank Account, you further authorize us and our agents and representatives to withdraw
 money from your Bank Account in the full amount due under this Agreement. By choosing to exercise any
 one of more of these remedies, we do not give up our right to use another way to collect the money you owe
 us later. We may decide not to use any of the ways described above to get back the money that you owe us.
 If so, we do not give up our right to consider what you said you would do to make payment(s) and, if you fail
 to make those payment(s), we will consider you to be in Default. In any proceeding in which a Lender is a
 party in interest with respect to any transactions with Borrower under Tribal law, Lender’s rights and
 remedies shall be granted based upon prima facie proof and entitlement based upon the terms of this
 Agreement and the payment and business records maintained by Lender in the ordinary course of business.
 Any claims or defenses whatsoever asserted by or on behalf of Borrower shall be subject to the dispute
 resolution process and jurisdiction agreed to in this Agreement.

 CREDIT REPORTING: You agree that Lender may make inquiries concerning your credit history and
 standing, and may report information concerning your performance under this Agreement to credit reporting
 agencies. Late payments, missed payments or other defaults on your Loan may be reflected in your credit
 report.

 CHANGE OF PRIMARY RESIDENCE: You agree to notify Lender of any change in your primary residence
 as soon as practicable, but no later than five (5) days after any change. You agree that the address provided
 on this Agreement will govern this Agreement until you have met all obligations under this Agreement and
 that any subsequent change in your primary residence will not affect the terms or enforceability of this
 Agreement.

 CORRESPONDENCE WITH LENDER: General correspondence with Lender concerning this Loan, this
 Agreement or your relationship with Lender must be directed to Lender at the following address: Great Plains
 Lending, LLC, 1050 East 2nd Street, Box 500, Edmond, Oklahoma 73034. Communications related to the
 bankruptcy of the Borrower must be directed to Lender at the following address: Great Plains Lending, LLC,
 Attn: Bankruptcy Handling, 1050 East 2nd Street, Box 500, Edmond, Oklahoma 73034.

 FORCE MAJEURE: Unavoidable delays as a result of inadvertent processing errors and/or “acts of God” may
 extend the time for the deposit of Loan proceeds and the processing of payments owing hereunder.

 TRANSFER OF RIGHTS; HYPOTHECATION AND MAINTENANCE OF REGISTER: This instrument is non-
 negotiable in form but may be pledged as collateral security. If so pledged, any payment made to the payee,
 either of principal or of interest, upon the debt evidenced by this obligation, shall be considered and
 construed as a payment on this instrument, the same as though it were still in the possession and under the
 control of the payee named herein; and the pledgee holding this instrument as collateral security hereby
 makes said payee its agent to accept and receive payments hereon, either of principal or of interest.

 You agree that we may assign or transfer this Agreement, or any of our rights hereunder, to any other
 person or entity without prior notice to or consent from you. Regardless of any transfer, this Agreement shall
 remain exclusively subject to Tribal Law and courts of the Otoe-Missouria Tribe. Great Plains Lending, LLC
 (the “Registrar”), acting solely for this purpose as your irrevocably appointed agent, shall maintain at an
 office located in the United States a copy of each assignment of this Agreement delivered to it and a register
 (the “Register”) for the recordation of the names and addresses of the original owner, assignees, and
 persons holding participation interests in the Loan, and the amounts of principal and interest owing to each
 from time to time pursuant to the terms of this Loan. The Register may be in electronic form. The entries of
 the Register shall be conclusive, and you, the Registrar, the Lender and all of its assignees and participants
 shall treat each person whose name is recorded in the Register pursuant to these terms as the owner of such
 principal and interest payments for all purposes of this Agreement, notwithstanding notice to the contrary.
 The name of the owner in the Register shall be available to you by written request to the Registrar at any
 reasonable time and from time to time upon reasonable prior notice. The foregoing is intended to result in
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 this Agreement being in “registered form” within the meaning of U.S. Treasury Regulations Section 1.871-
 14(c) and Sections 163(f), 871(h) and 881(c) of the Internal Revenue Code of 1986, as amended, and shall
 be interpreted and applied in a manner consistent therewith. Any fees and expenses of the Registrar for its
 services shall be charged to the registered owner of the loan and not to you.

 SUCCESSORS AND ASSIGNS: This Agreement is binding upon your heirs and personal representatives in
 probate and upon anyone to whom you assign your assets or who succeeds you in any other way; provided,
 however, that you may not assign or transfer this Agreement except with Lender’s prior written consent.

 SERVICING COMMUNICATIONS AND COMMUNICATIONS AFTER DEFAULT: You authorize Lender and
 its authorized representatives to contact you according to your consent provided in your application or
 according to your account preferences, as modified by you after submitting your application. This may
 include (i) calling you during reasonable hours at any of the phone numbers listed on your most recent
 application (a) prior to each Payment Due Date to remind you of the payment due and (b) and for other
 matters related to your account, (ii) contacting you by text message or other wireless communication
 method on the mobile phone number listed on your application, (iii) leaving a message with a person or a
 voice mail service, and (iv) contacting you using autodialers or pre-recorded messages, including calls to
 your mobile phone.



                                              ACH AUTHORIZATION
            (applies only if (a) you select the electronic funding/payment option below or
                              (b) authorize recurring Debit Card payments)


    This ACH Authorization is a part of and relates to this Agreement. You voluntarily authorize us, and our
    successors, affiliates, agents, representatives, employees and assigns, to initiate automatic credit and
    debit entries to your Bank Account in accordance with this Agreement. You agree that we will initiate a
    credit entry to your Bank Account for the Amount Financed on or about the Disbursement Date. You
    agree that we will initiate a debit entry to your Bank Account on each Payment Due Date in the
    payment amount described in the Payment Schedule. For each scheduled payment, whenever a debit
    entry to your Bank Account is returned to us for any reason, we may initiate a debit entry to your Bank
    Account up to two additional times after our first attempt for each scheduled payment amount. You
    also agree that we will initiate a debit entry for any accrued returned payment fees and any interest
    that accrues on overdue amounts. If your payment is due on a non-business day, it will be processed
    on the next business day.

    You agree that this ACH Authorization is for repayment of a consumer installment loan and that
    payments shall recur at substantially regular intervals as set forth in this Agreement. This ACH
    Authorization is to remain in full force and effect for this transaction until you pay your Loan, including
    any interest and fees, in full. You may revoke this ACH Authorization by contacting us directly or your
    financial institution. If you revoke your ACH Authorization, you agree to make payments to us by
    check, certified check or money order as set forth in the “Payments” section above. In no event will
    any revocation of this ACH Authorization be effective with respect to entries processed by us prior to
    us receiving such revocation.

    You agree that we may obtain information about you and your Bank Account from your bank and/or
    consumer reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If
    there is any missing or incorrect information in or with your application regarding your bank, bank
    routing number, or account number, then you authorize us to verify and correct such information.

    Your bank may charge you a fee in connection with our credit and/or debit entries. Contact your
    financial institution for more information specific to your Bank Account.

    This ACH Authorization is subject to the following provisions:
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    (1) Right to stop payment and procedure for doing so. If you have told us in advance to make regular
    payments out of your Bank Account, you can stop any of these payments. Here’s how: Call us at (877)
    836-1506 or write us at 1050 East 2nd Street, Box 500, Edmond, Oklahoma 73034, in time for us to
    receive your request 3 business days or more before the payment is scheduled to be made. If you call,
    we may also require you to put your request in writing and get it to us within 14 days after your call.

    (2) Liability for failure to stop payment of preauthorized transfer. If you order us to stop one of these
    payments three (3) business days or more before the transfer is scheduled, and we do not do so, we
    will be liable for your losses or damages.

    (3) Notice of varying amounts. You acknowledge that you will receive a notice at least 10 days before a
    payment is debited from your Bank Account if the payment we are going to debit from your Bank
    Account varies from the amount disclosed in the Schedule of Payments above. You have the right to
    receive notice of all varying amounts.

    This ACH Authorization is a payment mechanism only and does not give us collection rights greater
    than those otherwise contained in this Agreement. This ACH Authorization does not constitute and is
    not intended to constitute a security interest under Tribal Law.

    If you associate one or more debit cards with your account with Lender (each a “Debit Card”) and
    authorize Lender to initiate recurring payments on your Loan using a Debit Card, the terms of the
    foregoing ACH Authorization will apply equally to recurring payments made by Debit Card.


 ENTIRE AGREEMENT; SEVERABILITY. This Agreement, including the Waiver of Jury Trial and Arbitration
 Agreement, constitutes the entire agreement between Borrower and Lender, and it may not be contradicted
 by evidence of prior or contemporaneous oral agreements between them. If any provision of this Agreement
 is held unenforceable, including any provision of the Waiver of Jury Trial and Arbitration Agreement, the
 remainder of this Agreement shall remain in full force and effect.

 GOVERNING LAW; NON-APPLICABILITY OF STATE LAW; INTERSTATE COMMERCE: This Agreement
 and the Agreement to Arbitrate are governed by Tribal Law and such federal law as is applicable under the
 Indian Commerce Clause of the Constitution of the United States of America. We do not have a presence in
 Oklahoma or any other state of the United States of America. Neither this Agreement nor the Lender is
 subject to the laws of any state of the United States. The Lender may choose to voluntarily use certain
 federal laws as guidelines for the provision of services. Such voluntary use does not represent acquiescence
 of the Otoe-Missouria Tribe to any federal law unless found expressly applicable to the operations of the
 Otoe-Missouria Tribe. You and we agree that the transaction represented by this Agreement involves
 interstate commerce for all purposes.



                            WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT
    This Agreement includes the following binding Waiver of Jury Trial and Arbitration
    Agreement (the “Agreement to Arbitrate”). You may opt out of the Agreement to Arbitrate
    by following these instructions:

    RIGHT TO OPT-OUT: IF YOU DO NOT AGREE TO ARBITRATE ALL DISPUTES (DEFINED BELOW) IN
    ACCORDANCE WITH THE TERMS AND CONDITIONS OF THE AGREEMENT TO ARBITRATE, YOU MUST
    ADVISE US IN WRITING EITHER BY (A) MAILING A LETTER POSTMARKED NO LATER THAN 60 DAYS
    FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT, TO 1050 EAST
    2ND STREET, BOX 500, EDMOND, OKLAHOMA 73034, OR (B) BY EMAIL DATED NO LATER THAN 60
    DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT TO
    SUPPORT@GREATPLAINSLENDING.COM. YOUR OPT-OUT CORRESPONDENCE MUST CLEARLY PRINT OR
    TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE THAT YOU
    REJECT ARBITRATION. YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE IF IT IS NOT IN
    WRITING OR IF IS DATED LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT
    THE TOP OF THIS AGREEMENT; IT IS NOT SUFFICIENT TO TELEPHONE US. IN THE EVENT YOU OPT
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   OUT OF THE AGREEMENT TO ARBITRATE, ANY DISPUTES SHALL NONETHELESS BE GOVERNED UNDER
   TRIBAL LAW AND MUST BE BROUGHT WITHIN THE COURT SYSTEM OF THE OTOE-MISSOURIA TRIBE.

   PLEASE CAREFULLY READ THIS AGREEMENT TO ARBITRATE. UNLESS YOU EXERCISE YOUR
   RIGHT TO OPT-OUT OF ARBITRATION AS DESCRIBED ABOVE, YOU AGREE THAT ANY
   DISPUTE YOU HAVE RELATED TO THIS AGREEMENT WILL BE RESOLVED BY BINDING
   ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO TO COURT, INCLUDING THE
   RIGHT TO HAVE A JURY, TO ENGAGE IN DISCOVERY (EXCEPT AS MAY BE PROVIDED IN THE
   ARBITRATION RULES), AND TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF ANY
   CLASS OF CLAIMANTS OR IN ANY CONSOLIDATED ARBITRATION PROCEEDING OR AS A
   PRIVATE ATTORNEY GENERAL. OTHER RIGHTS THAT YOU WOULD HAVE IF YOU WENT TO
   COURT MAY ALSO BE UNAVAILABLE IN ARBITRATION.

   AGREEMENT TO ARBITRATE: You and we (defined below) agree that any Dispute (defined below)
   will be resolved by Arbitration.

   WHAT ARBITRATION IS: “Arbitration” is having an independent third-party resolve a Dispute. A
   “Dispute” is any claim or controversy of any kind between you and us or otherwise involving this
   Agreement or the Loan. The term Dispute is to be given its broadest possible meaning and includes,
   without limitation, all federal, state or Tribal Law claims or demands (whether past, present, or future),
   based on any legal or equitable theory and regardless of the type of relief sought (i.e., money,
   injunctive relief, or declaratory relief). A Dispute includes any issue concerning the validity,
   enforceability, or scope of this Agreement or this Agreement to Arbitrate.

   For purposes of this Agreement to Arbitrate, (a) the terms “you” and “your” mean you, the borrower,
   and include your heirs, guardian, personal representative, or trustee in bankruptcy, and (b) the terms
   “we,” “our,” and “us” mean Lender, our agents servicers, assigns, vendors or any third-party, Lender’s
   affiliated companies, the Tribe, Lender’s servicing and collection companies, representatives and
   agents, and each of their respective agents, representatives, employees, officers, directors, members,
   managers, attorneys, successors, predecessors, and assigns.

   HOW ARBITRATION WORKS: If a Dispute arises, the party asserting the claim or demand must
   initiate arbitration, provided you or we may first try to resolve the matter informally or through
   customary business methods, including collection activity. A party who intends to seek arbitration must
   first send to the other, by email, a Notice of Dispute (Notice). You must send the Notice to Lender at
   support@greatplainslending.com. The Notice must (a) have the subject heading “Notice of Dispute;” (b)
   describe the nature and basis of the claim or dispute; and (c) set for the specific relief sought
   (Demand). If Lender and you do not reach an agreement to resolve the claim within thirty (30) days
   after the Notice is received, you or Lender may commence an arbitration proceeding. The party
   requesting arbitration must choose either of the following arbitration firms for initiating and pursuing
   arbitration: the International Institute for Conflict Prevention & Resolution (“CPR”) or JAMS, The
   Resolution Experts (“JAMS”). If you claim you have a Dispute with us, but do not initiate arbitration or
   select an arbitration firm, we may do so. You may obtain copies of the current rules of each of the
   arbitration firms and forms and instructions for initiating arbitration by contacting them as follows:

       International Institute for                      JAMS, The Resolution Experts
       Conflict Prevention & Resolution, Inc.           1920 Main Street, Suite 300
       575 Lexington Ave, 21st Floor                    Irvine, CA 92614
       New York, NY 10022                               Website: http://www.jamsadr.com/
       Website: http://www.cpradr.org/                  Telephone: (949) 224-1810 or
       Telephone: (212) 949-6490                        (800) 352-5267

   The policies and procedures of the selected arbitration firm applicable to consumer transactions will
   apply provided such policies and procedures do not contradict this Agreement to Arbitrate or Tribal
   Law. To the extent the arbitration firm’s rules or procedures are different than the terms of this
   Agreement to Arbitrate, the terms of this Agreement to Arbitrate will apply.

   WHAT ARBITRATION COSTS: No matter which party initiates the arbitration, we will advance or
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   reimburse filing fees and other costs or fees of arbitration for all non-frivolous claims, provided each
   party will be initially responsible for its own attorneys’ fees and related costs. Unless prohibited by
   Tribal Law, the arbitrator may award fees, costs, and reasonable attorneys’ fees to the party who
   substantially prevails in the arbitration. If, after finding in your favor in any respect on the merits of
   your claim, the arbitrator issues you an award that is greater than the value of our last written
   settlement offer made before an arbitrator was selected, then we will pay you the amount of the award
   or the loan amount plus any finance fees paid, whichever is greater. If you would be entitled to a
   larger amount under applicable law, this provision does not preclude the arbitrator from awarding you
   that amount. However, you may not recover duplicative awards of attorneys’ fees or costs.

   LOCATION OF ARBITRATION: Any arbitration under this Agreement may be conducted either on
   Tribal land or within thirty (30) miles of your then current residence, at your choice, provided that this
   accommodation for you shall not be construed in any way (a) as a relinquishment or waiver of the
   sovereign status or immunity of the Tribe, (b) to allow for the application of any law other than Tribal
   Law, or (c) to constitute a transaction of business in any place other than the Indian country of the
   Tribe. Any party may participate in arbitration exclusively by telephonic or other electronic means.

   WAIVER OF RIGHTS: BY ENTERING INTO THIS AGREEMENT, YOU ACKNOWLEDGE AND
   AGREE THAT YOU ARE WAIVING YOUR RIGHT TO (A) HAVE A JURY TRIAL TO RESOLVE
   DISPUTES, (B) HAVE A COURT RESOLVE DISPUTES, (C) PARTICIPATE IN A CLASS ACTION
   LAWSUIT, AND (D) HAVE ACCESS TO DISCOVERY AND OTHER PROCEDURES THAT ARE
   AVAILABLE IN A LAWSUIT.

   The arbitrator has the ability to award all remedies available under Tribal Law, whether at law or in
   equity, to the prevailing party, except that you and we agree that the arbitrator has no authority to
   conduct class-wide proceedings and will be restricted to resolving individual Disputes. The arbitrator
   may award such remedies only in favor of the individual party seeking relief and only to the extent
   necessary to prove relief warranted by that party’s individual claim. Further, unless both you and we
   agree otherwise, the arbitrator may not consolidate more than one person’s claims, and may not
   otherwise preside over any form of a representative or class proceeding. The validity, effect, and
   enforceability of the waivers of class action lawsuit and class-wide arbitration, if challenged, are to be
   determined solely by a Tribal court of competent jurisdiction and not by the CPR, JAMS, or an
   arbitrator. If the Tribal court refuses to enforce the class-wide arbitration waiver, the parties agree that
   the Dispute will proceed in Tribal court and will be decided by a Tribal court judge, sitting without a
   jury, under applicable Tribal court rules and procedures, and not as a class action lawsuit. As an
   integral component of accepting this Agreement, you irrevocably consent to the exclusive jurisdiction
   of the Tribal courts for purposes of this Agreement.

   APPLICABLE LAW AND JUDICIAL REVIEW OF ARBITRATOR’S AWARD: THIS AGREEMENT TO
   ARBITRATE SHALL BE GOVERNED BY TRIBAL LAW. The arbitrator shall apply Tribal Law and the
   terms of this Agreement, including this Agreement to Arbitrate and the waivers included herein. The
   arbitrator may decide, with or without a hearing, any motion that is substantially similar to a motion to
   dismiss for failure to state a claim or a motion for summary judgment. The arbitrator shall make
   written findings and the arbitrator’s award may be filed with a Tribal court. The arbitration award shall
   be supported by substantial evidence and must be consistent with this Agreement and Tribal Law, and
   if it is not, it may be set aside by a Tribal court upon judicial review. During the arbitration, the amount
   of any settlement offer made by us or you shall not be disclosed to the arbitrator until after the
   arbitrator determines the amount, if any, to which you or we are entitled. The parties will have the
   right to judicial review in a Tribal court of (a) whether the findings of fact rendered by the arbitrator
   are supported by substantial evidence and (b) whether the conclusions of law are erroneous under
   Tribal Law. Judgment confirming an award in such a proceeding may be entered only if a Tribal court
   determines that the award is supported by substantial evidence and is not based on legal error under
   Tribal Law.

   SURVIVAL: This Agreement to Arbitrate will survive: (1) the cancellation, payment, charge-off, or
   assignment of this Agreement; (2) the bankruptcy of any party; and (3) any transfer, sale, or
   assignment of this Agreement, or any amounts owed under this Agreement, to any other person or
   entity.
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 PLEASE CAREFULLY REVIEW THIS AGREEMENT, WHICH INCLUDES A WAIVER OF JURY TRIAL AND
 ARBITRATION AGREEMENT THAT MAY BE ENFORCED BY YOU AND US. IF YOU HAVE QUESTIONS,
 PLEASE CONTACT CUSTOMER SERVICE AT (877) 836-1506.

 By electronically signing this Agreement: You certify that all information you gave us in connection with
 your application and this Agreement is true and correct, and you authorize us to verify any information you
 provided. You give us consent to obtain information about you from one or more consumer reporting
 agencies and other sources. You acknowledge that: (a) you have read, understand, and agree to all of the
 terms and conditions of (i) this Agreement, including the truth-in-lending disclosures and the Waiver of Jury
 Trial and Arbitration Agreement, and (ii) Lender’s Privacy Policy
 (https://www.greatplainslending.com/faq/privacy-policy) (b) this Agreement contains all of the terms of the
 agreement between you and us and that no representations or promises other than those contained in this
 Agreement have been made; (c) if you elect below to repay this Loan via ACH debits to your Bank Account,
 you specifically authorize withdrawals and deposits to and from your Bank Account as described in this
 Agreement; (d) you are not a debtor under any proceeding in bankruptcy and have no intention to file a
 petition for relief under any chapter of the United States Bankruptcy Code; (e) this Agreement was filled in
 before you signed it; (f) you have the ability to print or retain a completed copy of this Agreement; and (g)
 we have not made the Loan contingent upon your obtaining any other product or service from us or anyone
 else. You further acknowledge that we may withhold funding of your Loan until (i) we confirm that you have
 made all payments on any previous loans with Lender, (ii) we verify that all information you gave us on your
 application is true and (iii) we decide whether you meet our requirements to receive the Loan.


       By checking here and signing below, you understand, acknowledge and agree that Great
       Plains Lending, LLC is a tribal lending entity wholly owned by Otoe-Missouria Tribe of
       Indians, a federally recognized tribe. You further understand, acknowledge and agree
       that this Loan is governed by the laws of the Otoe-Missouria Tribe and is not subject to
       the provisions or protections of the laws of your home state or any other state. If you
       wish to have your resident state law apply to any loan that you take out, you should
       consider taking a loan from a licensed lender in your state.

 Please review and select one of these funding/payment options:

       ELECTRONIC (as soon as the next business day): By checking here and signing below, you
       agree to the ACH Authorization set forth in this Agreement, which allows us to debit and credit your
       Bank Account for this Loan. You acknowledge and agree that the ACH Authorization is for the
       benefit of Great Plains Lending, LLC, its affiliates, agents, representatives, employees, successors,
       and registered assigns. You acknowledge that you are not required to consent to receive funds or
       repay your Loan by ACH or other electronic payment method.

       POSTAL MAIL (allow 7 to 10 days for delivery): By checking here and signing below, you
       request Loan proceeds be distributed to you by check and delivered by regular mail through the
       U.S. Postal Service. If you elect to receive your proceeds by mail, you must make payments as
       explained in the “Payments” section above. You acknowledge that interest begins accruing on the
       Effective Date set forth at the top of this Agreement.

 Your Full Name:                                 Type 'I Agree':                       Date:
 Lula Bell Williams                              I Agree                               10/5/2016

 Great Plains Lending, LLC

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                   EXHIBIT 3
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                         THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"
                                                     Consumer Installment Loan Agreement

                                                           Loan Number: 73346057


                                                            Great Plains Lending, LLC
                                                        Otoe-Missouria Indian Reservation
                                                              Red Rock, OK 74651
                                                                (877) 836-1506


  Lender:                                                                     Borrower's Name:
  Great Plains Lending, LLC                                                   Stephanie Lazette Edwards

  Origination Date: 7/17/2015                                                 Borrower's ID:
  This is the date you signed and submitted this Agreement to the Lender.     *******5819

  Disbursement Date: On or about 7/17/2015                                    Borrower's Address:
  This is the date that the Loan proceeds are released.                       REDACTED

  Effective Date: 7/20/2015                                                   Borrower's Bank and Account Number for ACH
  This is the date that interest begins to accrue.                            Transfers (the "Bank Account"): Bayport Credit
                                                                              Union REDACTE
                                                                                     D
  Final Payment Due Date: 9/16/2016
  This is the Loan maturity date.


  In this Consumer Installment Loan Agreement (this "Agreement"), "you" and "your" refer to the Borrower
  identified above. "We", "us", "our", and "Lender" refer to Great Plains Lending, LLC, a lender authorized by the
  laws of the Otoe-Missouria Tribe of Indians (the "Otoe-Missouria Tribe" or "Tribe"), a federally recognized
  Indian Tribe, and any assignee of Lender or subsequent holder of this Agreement. "Tribal" refers to the Otoe-
  Missouria Tribe, and "Tribal Law" means any law or regulation duly enacted by the Otoe-Missouria Tribe. "Loan"
  means the consumer installment loan made by Lender to Borrower under this Agreement.


  IMPORTANT DISCLOSURE

  PLEASE READ THIS DISCLOSURE CAREFULLY BEFORE SIGNING THIS AGREEMENT. LENDER IS AN ARM OF THE
  TRIBE, IT IS A COMMERCIAL ENTITY FORMED PURSUANT TO TRIBAL LAW, IT IS OWNED AND OPERATED BY THE
  TRIBE AND IT FUNCTIONS AS A NON-PROFIT COMMERCIAL ENTITY OF THE TRIBE, FORMED FOR THE EXPRESS
  PURPOSE OF ECONOMIC DEVELOPMENT. BOTH THE LENDER AND THE TRIBE ARE IMMUNE FROM SUIT IN ANY
  COURT UNLESS THE TRIBE, THROUGH ITS TRIBAL COUNCIL, EXPRESSLY WAIVES THAT IMMUNITY THROUGH A
  FORMAL, WRITTEN RESOLUTION OF THE TRIBE'S TRIBAL COUNCIL. THE LENDER IS REGULATED BY THE TRIBE'S
  CONSUMER FINANCE SERVICES REGULATORY COMMISSION (THE "COMMISSION"). YOUR RIGHT TO SUBMIT
  COMPLAINTS IS LIMITED TO THE DISPUTE RESOLUTION PROCESS SET FORTH IN THIS AGREEMENT AND TO THE
  COMMISSION IN ACCORDANCE WITH THE TRIBE'S CONSUMER LENDING CODE AND ACCOMPANYING
  REGULATIONS, IF ANY.

  YOU AGREE THAT THIS LOAN IS MADE WITHIN THE TRIBE'S JURISDICTION AND IS SUBJECT TO AND
  GOVERNED BY TRIBAL LAW AND NOT THE LAW OF YOUR RESIDENT STATE. IN MAKING THIS LOAN, YOU
  CONSENT TO TRIBAL JURISDICTION FOR THIS LOAN. YOUR RESIDENT STATE LAW MAY HAVE INTEREST RATE
  LIMITS AND OTHER CONSUMER PROTECTION PROVISIONS THAT ARE MORE FAVORABLE. IF YOU WISH TO HAVE
  YOUR RESIDENT STATE LAW APPLY TO ANY LOAN THAT YOU TAKE OUT, YOU SHOULD CONSIDER TAKING A
  LOAN FROM A LICENSED LENDER IN YOUR STATE. IN ANY EVENT, YOU SHOULD CAREFULLY EVALUATE YOUR
  FINANCIAL OPTIONS BEFORE TAKING OUT A LOAN. THIS LOAN HAS A HIGH INTEREST RATE AND IT IS NOT
  INTENDED TO PROVIDE A SOLUTION FOR LONGER TERM CREDIT OR OTHER FINANCIAL NEEDS. ALTERNATIVE
  FORMS OF CREDIT MAY BE LESS EXPENSIVE AND MORE SUITABLE FOR YOUR FINANCIAL NEEDS. PLEASE
  CONSIDER YOUR ABILITY TO REPAY THE LOAN. IF YOU ARE HAVING FINANCIAL DIFFICULTIES, YOU SHOULD
  SEEK THE ASSISTANCE OF FINANCIAL COUNSELORS. BEFORE SIGNING THIS AGREEMENT, PLEASE CAREFULLY
  READ ITS TERMS. YOUR SIGNATURE AND ACCEPTANCE OF THIS LOAN WILL BE DEEMED AS PROOF THAT YOU
  HAVE READ THIS AGREEMENT, YOU HAVE APPROVED OF ALL OF ITS TERMS, INCLUDING CONSENTING TO
  TRIBAL JURISDICTION, YOU HAVE PROVIDED THE LENDER WITH THE MOST CURRENT AND ACCURATE
  EMPLOYMENT, CREDIT, INCOME, AND ASSET HISTORY REQUIRED FOR LENDER TO ASSESS YOUR ELIGIBILITY
  AND CREDITWORTHINESS, AND AFFIRMATIVELY ACKNOWLEDGE THAT YOU ARE ABLE TO REPAY THE LOAN
  ACCORDING TO THE TERMS OF THIS AGREEMENT.
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  TRUTH IN LENDING DISCLOSURES: We provide the following truth-in-lending disclosures so that you can compare the
  cost of this Loan to other loan products you might obtain in the United States. Our inclusion of these disclosures does not
  mean that we or any subsequent holder of this Agreement consent to application of state or federal law to us, to the Loan,
  or this Agreement.
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                                             TRUTH-IN-LENDING DISCLOSURES


                ANNUAL                     FINANCE CHARGE                     Amount Financed                  Total of Payments
          PERCENTAGE RATE               The dollar amount the credit     The amount of credit provided   The amount you will have paid
        The cost of your credit as a           will cost you.              to you or on your behalf.      after making all payments as
               yearly rate.                                                                                        scheduled.


                 247.98%                         $2,786.47                        $1,300.00                       $4,086.47

   PAYMENT SCHEDULE: Your Payment Schedule will be as set forth in the following table, with each due date being
   referred to herein as a "Payment Due Date":


            Number of Payments                       Amount of Payments                          When Payments Are Due

                                                                                                       8/7/2015, 8/21/2015,
                                                                                                       9/4/2015, 9/18/2015,
                                                                                                     10/2/2015, 10/16/2015,
                                                                                                    10/30/2015, 11/13/2015,
                                                                                                    11/27/2015, 12/11/2015,
                                                                                                      12/25/2015, 1/8/2016,
                                                                                                       1/22/2016, 2/5/2016,
                        29                                     $136.23                                 2/19/2016, 3/4/2016,
                                                                                                       3/18/2016, 4/1/2016,
                                                                                                      4/15/2016, 4/29/2016,
                                                                                                      5/13/2016, 5/27/2016,
                                                                                                      6/10/2016, 6/24/2016,
                                                                                                       7/8/2016, 7/22/2016,
                                                                                                       8/5/2016, 8/19/2016,
                                                                                                             9/2/2016
                         1                                     $135.80                                    9/16/2016

    PREPAYMENT: If you pay off early, you will not have to pay a penalty.
    See the Agreement below for any additional information about nonpayment, default, any required repayment in full
    before the scheduled date, and prepayment refunds and penalties.




   Itemization of Amount Financed:
                                                                                                                               $1,300.00
   Amount given to you directly:

                                                                                                                                   $0.00
   Plus, Amount paid on your account with Lender - Loan #_____:

                                                                                                                               $1,300.00
   Equals, Amount Financed:




  PROMISE TO PAY: You promise to pay to the order of Lender the principal sum of $1,300.00 plus interest from the
  Effective Date of this Loan at the rate of 249.9885% per year until this loan is repaid in full. You agree to make payments in
  the amounts and on or before the Payment Due Dates shown in the Payment Schedule above. You also promise to pay to
  Lender all other fees and charges provided for under this Agreement.

  INTEREST: Interest will accrue daily on the unpaid principal balance of this Loan, beginning on the Effective Date, until paid
  in full. We calculate interest based on a 365-day year. In calculating your payments, we have assumed you will make each
  payment on the day and in the amount due. If any payment is received after the Payment Due Date, you must pay any
  additional interest that accrues after the Payment Due Date. If any payment is made before a Payment Due Date, the
  interest due on the scheduled payment will be reduced, and you will owe less interest. The amount of any decrease or
  increase in interest due will affect the amount of your final payment. If the amount of any payment is not enough to pay the
  interest due, the unpaid interest will be paid from your next payment(s), if any, and will not be added to the principal
  balance. Time is of the essence, which means that there are no grace periods for when payments must be made. There is no
  separate late charge if you fail to make payments in accordance with the Payment Schedule. However, if you do not make
  each payment in full on the Payment Due Dates as agreed, Lender may continue to charge interest on past due amounts at
  the interest rate set forth in the "Promise to Pay" section. The interest rate and other charges under this Agreement will
  never exceed the highest rate or charge allowed by Tribal Law for this Loan. If the amount collected is found to exceed the
  highest rate or charge allowed, Lender will refund an amount necessary to comply with Tribal Law.

  PAYMENTS: Lender will apply your payments in the following order: (1) to any fees due, (2) to accrued but unpaid interest,
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  and (3) to principal amounts outstanding. If you have chosen the ACH Authorization option, each scheduled payment, plus
  any fees due to us (if applicable), will be debited from your Bank Account on each Payment Due Date. See the ACH
  Authorization below for further information.

  If you have chosen to receive your Loan proceeds via check and to repay all amounts due pursuant to this Agreement via
  check, money order or certified check, please mail each payment payable to Great Plains Lending, LLC, P.O. Box 42906,
  Philadelphia, PA 19101 (or by overnight mail or courier service to Great Plains Lending c/o MetaSource, 1900 Frost Road,
  Suite 100, Bristol, PA 19007), for forwarding to and receipt and processing on the Otoe-Missouria Indian reservation, in time
  for Lender to receive the payment by 5:00 p.m. Eastern Time on the Payment Due Date.

  PREPAYMENT: You may prepay this Loan in whole or in part at any time without penalty. If you prepay in part, you must
  still make each later payment according to the Payment Schedule above until this Loan is paid in full. Any amounts you
  prepay will not continue to accrue interest.

  RIGHT OF RESCISSION: You may rescind or cancel this Loan if you do so on or before 5:30 p.m., Eastern Time, on the
  fifth business day after the Origination Date (the "Rescission Deadline"). To cancel, call Lender at (877) 836-1506 to tell us
  you want to rescind or cancel this Loan and provide us written notice of rescission as directed by our customer service
  representative.

  If you have provided an ACH Authorization: If we timely receive your written notice of rescission on or before the Rescission
  Deadline but before the Loan proceeds have been credited to your Bank Account, we will not deposit your Loan proceeds to
  your Bank Account and both ours and your obligations under this Agreement will be rescinded. If we timely receive your
  written notice of rescission on or before the Rescission Deadline but after the Loan proceeds have been credited to your Bank
  Account, we will debit your Bank Account for the principal amount owing under this Agreement. If we receive payment of the
  principal amount via the debit, ours and your obligations under this Agreement will be rescinded. If we do not receive
  payment of the principal amount via the debit, then the Agreement will remain in full force and effect until all amounts owed
  under this Agreement are repaid in full, including any interest and fees.

  If you have elected to receive your Loan proceeds via check delivered by mail: If we timely receive your written notice of
  rescission on or before the Rescission Deadline, and (a) if we have not mailed the check representing the Loan proceeds to
  you or (b) if you have not cashed the check representing the Loan proceeds, then we will cancel the check and both ours and
  your obligations under this Agreement will be rescinded. If you have cashed the check representing the Loan proceeds, you
  must return the full amount of cash you received to us by the Rescission Deadline. If we receive the full amount by the
  Rescission Deadline, ours and your obligations under this Agreement will be rescinded. If we do not receive the full amount
  by the Rescission Deadline, then the Agreement will remain in full force and effect until all amounts owed under this
  Agreement are repaid in full, including any interest and fees.

  Any pre-assessed fee shall not be deemed security for this Loan and shall be returned by a credit entry to your Bank Account
  within three (3) business days of an effective rescission.

  CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use information
  from your check to make a one-time electronic withdrawal from your Bank Account or to process the payment as a check
  transaction. When we use information from your check to make a withdrawal from your Bank Account, funds may be
  withdrawn from your Bank Account as soon as the same day we receive your payment, and you will not receive your check
  back from your financial institution. For questions, please call our customer service phone number, (877) 836-1506.

  RETURNED PAYMENT FEES; BORROWER BANK CHARGES: If any payment made by you on this Loan is not honored or
  cannot be processed for any reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00
  and you agree that we may recover court costs and reasonable attorney's fees incurred by us. If you have elected to repay
  this Loan via ACH debits to your Bank Account, for each returned payment, you authorize Lender and its agents and
  representatives to make a one-time withdrawal from your Bank Account to collect this fee. Your financial institution may also
  charge a fee if your Bank Account becomes overdrawn or if a payment is attempted against your Bank Account that would
  cause it to become overdrawn. You will not hold us or our agents, representatives, successors or assigns responsible for any
  such fee you must pay.

  SECURITY: No security interest is taken or given in connection with this Loan.

  REFINANCE POLICY: Subject to our credit policies, we will determine, in our sole discretion, whether your Loan may be
  refinanced.

  DEFAULT: You will have broken your promise you made to us in this Agreement (each, a "Default") if: (a) you provide false
  or misleading information about yourself, your employment or your financial condition prior to entering into this Agreement,
  (b) you fail to make a payment in full by the applicable Payment Due Date or if your payment is returned to us for any
  reason, or (c) you file bankruptcy or become a debtor under U.S. federal bankruptcy laws.

  CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at our option,
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  do any one or more of the following things: (a) require you to immediately pay us everything you owe us under this
  Agreement; (b) if you have elected to repay this Loan via ACH debits to your Bank Account, withdraw money from your Bank
  Account that was not available when we tried to withdraw it at an earlier time; and (c) pursue all legally available means to
  collect what you owe us. By signing this Agreement you waive notice of default, dishonor, demand for payment, protest,
  presentment, and any other notices. Amounts you owe Lender includes the unpaid principal balance of this Loan, all unpaid
  accrued fees and interest (including unpaid interest owing on past due amounts), and any costs and fees Lender incurs in
  connection with this Agreement. In the event we declare all amounts owed under this Agreement immediately due because
  you did not pay us, then, if you have elected to repay this Loan via ACH debits to your Bank Account, you further authorize
  us and our agents and representatives to withdraw money from your Bank Account in the full amount due under this
  Agreement. By choosing to exercise any one of more of these remedies, we do not give up our right to use another way to
  collect the money you owe us later. We may decide not to use any of the ways described above to get back the money that
  you owe us. If so, we do not give up our right to consider what you said you would do to make payment(s) and, if you fail to
  make those payment(s), we will consider you to be in Default. In any proceeding in which a Lender is a party in interest with
  respect to any transactions with Borrower under Tribal law, Lender's rights and remedies shall be granted based upon prima
  facie proof and entitlement based upon the terms of this Agreement and the payment and business records maintained by
  Lender in the ordinary course of business. Any claims or defenses whatsoever asserted by or on behalf of Borrower shall be
  subject to the dispute resolution process and jurisdiction agreed to in this Agreement.

  CREDIT REPORTING: You agree that Lender may make inquiries concerning your credit history and standing, and may
  report information concerning your performance under this Agreement to credit reporting agencies. Late payments, missed
  payments or other defaults on your Loan may be reflected in your credit report.

  CHANGE OF PRIMARY RESIDENCE: You agree to notify Lender of any change in your primary residence as soon as
  practicable, but no later than five (5) days after any change. You agree that the address provided on this Agreement will
  govern this Agreement until you have met all obligations under this Agreement and that any subsequent change in your
  primary residence will not affect the terms or enforceability of this Agreement.

  CORRESPONDENCE WITH LENDER: General correspondence with Lender concerning this Loan, this Agreement or your
  relationship with Lender must be directed to Lender at the following address: Great Plains Lending, LLC, 1050 East 2nd
  Street, Box 500, Edmond, Oklahoma 73034. Communications related to the bankruptcy of the Borrower must be directed to
  Lender at the following address: Great Plains Lending, LLC, Attn: Bankruptcy Handling, 1050 East 2nd Street, Box 500,
  Edmond, Oklahoma 73034.

  FORCE MAJEURE: Unavoidable delays as a result of inadvertent processing errors and/or "acts of God" may extend the
  time for the deposit of Loan proceeds and the processing of payments owing hereunder.

  TRANSFER OF RIGHTS; HYPOTHECATION AND MAINTENANCE OF REGISTER: This instrument is non-negotiable in
  form but may be pledged as collateral security. If so pledged, any payment made to the payee, either of principal or of
  interest, upon the debt evidenced by this obligation, shall be considered and construed as a payment on this instrument, the
  same as though it were still in the possession and under the control of the payee named herein; and the pledgee holding this
  instrument as collateral security hereby makes said payee its agent to accept and receive payments hereon, either of
  principal or of interest.

  You agree that we may assign or transfer this Agreement, or any of our rights hereunder, to any other person or entity
  without prior notice to or consent from you. Regardless of any transfer, this Agreement shall remain exclusively subject to
  Tribal Law and courts of the Otoe-Missouria Tribe. Great Plains Lending, LLC (the "Registrar"), acting solely for this purpose
  as your irrevocably appointed agent, shall maintain at an office located in the United States a copy of each assignment of
  this Agreement delivered to it and a register (the "Register") for the recordation of the names and addresses of the original
  owner, assignees, and persons holding participation interests in the Loan, and the amounts of principal and interest owing to
  each from time to time pursuant to the terms of this Loan. The Register may be in electronic form. The entries of the
  Register shall be conclusive, and you, the Registrar, the Lender and all of its assignees and participants shall treat each
  person whose name is recorded in the Register pursuant to these terms as the owner of such principal and interest
  payments for all purposes of this Agreement, notwithstanding notice to the contrary. The name of the owner in the Register
  shall be available to you by written request to the Registrar at any reasonable time and from time to time upon reasonable
  prior notice. The foregoing is intended to result in this Agreement being in "registered form" within the meaning of U.S.
  Treasury Regulations Section 1.871-14(c) and Sections 163(f), 871(h) and 881(c) of the Internal Revenue Code of 1986, as
  amended, and shall be interpreted and applied in a manner consistent therewith. Any fees and expenses of the Registrar for
  its services shall be charged to the registered owner of the loan and not to you.

  SUCCESSORS AND ASSIGNS: This Agreement is binding upon your heirs and personal representatives in probate and
  upon anyone to whom you assign your assets or who succeeds you in any other way; provided, however, that you may not
  assign or transfer this Agreement except with Lender's prior written consent.

  SERVICING COMMUNICATIONS AND COMMUNICATIONS AFTER DEFAULT: You authorize Lender and its authorized
  representatives to contact you according to your consent provided in your application or according to your account
  preferences, as modified by you after submitting your application. This may include (i) calling you during reasonable hours at
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  any of the phone numbers listed on your most recent application (a) prior to each Payment Due Date to remind you of the
  payment due and (b) and for other matters related to your account, (ii) contacting you by text message or other wireless
  communication method on the mobile phone number listed on your application, (iii) leaving a message with a person or a
  voice mail service, and (iv) contacting you using autodialers or pre-recorded messages, including calls to your mobile phone.


                                                   ACH AUTHORIZATION
                     (applies only if (a) you select the electronic funding/payment option below or
                                       (b) authorize recurring Debit Card payments)

   This ACH Authorization is a part of and relates to this Agreement. You voluntarily authorize us, and our successors,
   affiliates, agents, representatives, employees and assigns, to initiate automatic credit and debit entries to your Bank
   Account in accordance with this Agreement. You agree that we will initiate a credit entry to your Bank Account for the
   Amount Financed on or about the Disbursement Date. You agree that we will initiate a debit entry to your Bank Account
   on each Payment Due Date in the payment amount described in the Payment Schedule. For each scheduled payment,
   whenever a debit entry to your Bank Account is returned to us for any reason, we may initiate a debit entry to your Bank
   Account up to two additional times after our first attempt for each scheduled payment amount. You also agree that we
   will initiate a debit entry for any accrued returned payment fees and any interest that accrues on overdue amounts. If
   your payment is due on a non-business day, it will be processed on the next business day.

   You agree that this ACH Authorization is for repayment of a consumer installment loan and that payments shall recur at
   substantially regular intervals as set forth in this Agreement. This ACH Authorization is to remain in full force and effect
   for this transaction until you pay your Loan, including any interest and fees, in full. You may revoke this ACH
   Authorization by contacting us directly or your financial institution. If you revoke your ACH Authorization, you agree to
   make payments to us by check, certified check or money order as set forth in the "Payments" section above. In no event
   will any revocation of this ACH Authorization be effective with respect to entries processed by us prior to us receiving such
   revocation.

   You agree that we may obtain information about you and your Bank Account from your bank and/or consumer reporting
   agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any missing or incorrect
   information in or with your application regarding your bank, bank routing number, or account number, then you authorize
   us to verify and correct such information.

   Your bank may charge you a fee in connection with our credit and/or debit entries. Contact your financial institution for
   more information specific to your Bank Account.

   This ACH Authorization is subject to the following provisions:

   (1) Right to stop payment and procedure for doing so. If you have told us in advance to make regular payments out of
   your Bank Account, you can stop any of these payments. Here's how: Call us at (877) 836-1506 or write us at 1050 East
   2nd Street, Box 500, Edmond, Oklahoma 73034, in time for us to receive your request 3 business days or more before
   the payment is scheduled to be made. If you call, we may also require you to put your request in writing and get it to us
   within 14 days after your call.

   (2) Liability for failure to stop payment of preauthorized transfer. If you order us to stop one of these payments three (3)
   business days or more before the transfer is scheduled, and we do not do so, we will be liable for your losses or damages.

   (3) Notice of varying amounts. You acknowledge that you will receive a notice at least 10 days before a payment is
   debited from your Bank Account if the payment we are going to debit from your Bank Account varies from the amount
   disclosed in the Schedule of Payments above. You have the right to receive notice of all varying amounts.

   This ACH Authorization is a payment mechanism only and does not give us collection rights greater than those otherwise
   contained in this Agreement. This ACH Authorization does not constitute and is not intended to constitute a security
   interest under Tribal Law.

   If you associate one or more debit cards with your account with Lender (each a "Debit Card") and authorize Lender to
   initiate recurring payments on your Loan using a Debit Card, the terms of the foregoing ACH Authorization will apply
   equally to recurring payments made by Debit Card.


  ENTIRE AGREEMENT; SEVERABILITY. This Agreement, including the Waiver of Jury Trial and Arbitration Agreement,
  constitutes the entire agreement between Borrower and Lender, and it may not be contradicted by evidence of prior or
  contemporaneous oral agreements between them. If any provision of this Agreement is held unenforceable, including any
  provision of the Waiver of Jury Trial and Arbitration Agreement, the remainder of this Agreement shall remain in full force
  and effect.

  GOVERNING LAW; NON-APPLICABILITY OF STATE LAW; INTERSTATE COMMERCE: This Agreement and the
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  Agreement to Arbitrate are governed by Tribal Law and such federal law as is applicable under the Indian Commerce Clause
  of the Constitution of the United States of America. We do not have a presence in Oklahoma or any other state of the United
  States of America. Neither this Agreement nor the Lender is subject to the laws of any state of the United States. The Lender
  may choose to voluntarily use certain federal laws as guidelines for the provision of services. Such voluntary use does not
  represent acquiescence of the Otoe-Missouria Tribe to any federal law unless found expressly applicable to the operations of
  the Otoe-Missouria Tribe. You and we agree that the transaction represented by this Agreement involves interstate
  commerce for all purposes.


                                  WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT

   This Agreement includes the following binding Waiver of Jury Trial and Arbitration Agreement (the
   "Agreement to Arbitrate"). You may opt out of the Agreement to Arbitrate by following these instructions:


   RIGHT TO OPT-OUT: IF YOU DO NOT AGREE TO ARBITRATE ALL DISPUTES (DEFINED BELOW) IN ACCORDANCE WITH
   THE TERMS AND CONDITIONS OF THE AGREEMENT TO ARBITRATE, YOU MUST ADVISE US IN WRITING EITHER BY (A)
   MAILING A LETTER POSTMARKED NO LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT THE
   TOP OF THIS AGREEMENT, TO 1050 EAST 2ND STREET, BOX 500, EDMOND, OKLAHOMA 73034, OR (B) BY EMAIL DATED
   NO LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT TO
   SUPPORT@GREATPLAINSLENDING.COM . YOUR OPT-OUT CORRESPONDENCE MUST CLEARLY PRINT OR TYPE YOUR
   NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE THAT YOU REJECT ARBITRATION. YOUR
   REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE IF IT IS NOT IN WRITING OR IF IS DATED LATER THAN 60 DAYS
   FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT; IT IS NOT SUFFICIENT TO
   TELEPHONE US. IN THE EVENT YOU OPT OUT OF THE AGREEMENT TO ARBITRATE, ANY DISPUTES SHALL NONETHELESS
   BE GOVERNED UNDER TRIBAL LAW AND MUST BE BROUGHT WITHIN THE COURT SYSTEM OF THE OTOE-MISSOURIA
   TRIBE.


   PLEASE CAREFULLY READ THIS AGREEMENT TO ARBITRATE. UNLESS YOU EXERCISE YOUR RIGHT TO OPT-
   OUT OF ARBITRATION AS DESCRIBED ABOVE, YOU AGREE THAT ANY DISPUTE YOU HAVE RELATED TO THIS
   AGREEMENT WILL BE RESOLVED BY BINDING ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO TO
   COURT, INCLUDING THE RIGHT TO HAVE A JURY, TO ENGAGE IN DISCOVERY (EXCEPT AS MAY BE PROVIDED
   IN THE ARBITRATION RULES), AND TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF ANY CLASS OF
   CLAIMANTS OR IN ANY CONSOLIDATED ARBITRATION PROCEEDING OR AS A PRIVATE ATTORNEY GENERAL.
   OTHER RIGHTS THAT YOU WOULD HAVE IF YOU WENT TO COURT MAY ALSO BE UNAVAILABLE IN
   ARBITRATION.


   AGREEMENT TO ARBITRATE: You and we (defined below) agree that any Dispute (defined below) will be resolved by
   Arbitration.

   WHAT ARBITRATION IS: "Arbitration" is having an independent third-party resolve a Dispute. A "Dispute" is any claim
   or controversy of any kind between you and us or otherwise involving this Agreement or the Loan. The term Dispute is to
   be given its broadest possible meaning and includes, without limitation, all federal, state or Tribal Law claims or demands
   (whether past, present, or future), based on any legal or equitable theory and regardless of the type of relief sought (i.e.,
   money, injunctive relief, or declaratory relief). A Dispute includes any issue concerning the validity, enforceability, or
   scope of this Agreement or this Agreement to Arbitrate.

   For purposes of this Agreement to Arbitrate, (a) the terms "you" and "your" mean you, the borrower, and include your
   heirs, guardian, personal representative, or trustee in bankruptcy, and (b) the terms "we," "our," and "us" mean Lender,
   our agents servicers, assigns, vendors or any third-party, Lender's affiliated companies, the Tribe, Lender's servicing and
   collection companies, representatives and agents, and each of their respective agents, representatives, employees,
   officers, directors, members, managers, attorneys, successors, predecessors, and assigns.

   HOW ARBITRATION WORKS: If a Dispute arises, the party asserting the claim or demand must initiate arbitration,
   provided you or we may first try to resolve the matter informally or through customary business methods, including
   collection activity. A party who intends to seek arbitration must first send to the other, by email, a Notice of Dispute
   (Notice). You must send the Notice to Lender at support@greatplainslending.com. The Notice must (a) have the
   subject heading "Notice of Dispute;" (b) describe the nature and basis of the claim or dispute; and (c) set for the specific
   relief sought (Demand). If Lender and you do not reach an agreement to resolve the claim within thirty (30) days after
   the Notice is received, you or Lender may commence an arbitration proceeding. The party requesting arbitration must
   choose either of the following arbitration firms for initiating and pursuing arbitration: the International Institute for
   Conflict Prevention & Resolution ("CPR") or JAMS, The Resolution Experts ("JAMS"). If you claim you have a Dispute with
   us, but do not initiate arbitration or select an arbitration firm, we may do so. You may obtain copies of the current rules of
   each of the arbitration firms and forms and instructions for initiating arbitration by contacting them as follows:

                    International Institute for                        JAMS, The Resolution Experts
                    Conflict Prevention & Resolution, Inc.             1920 Main Street, Suite 300
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                    575 Lexington Ave, 21st Floor                      Irvine, CA 92614
                    New York, NY 10022                                 Website: http://www.jamsadr.com/
                    Website: http://www.cpradr.org/                    Telephone: (949) 224-1810 or
                    Telephone: (212) 949-6490                          (800) 352-5267

   The policies and procedures of the selected arbitration firm applicable to consumer transactions will apply provided such
   policies and procedures do not contradict this Agreement to Arbitrate or Tribal Law. To the extent the arbitration firm's
   rules or procedures are different than the terms of this Agreement to Arbitrate, the terms of this Agreement to Arbitrate
   will apply.

   WHAT ARBITRATION COSTS: No matter which party initiates the arbitration, we will advance or reimburse filing fees
   and other costs or fees of arbitration for all non-frivolous claims, provided each party will be initially responsible for its
   own attorneys' fees and related costs. Unless prohibited by Tribal Law, the arbitrator may award fees, costs, and
   reasonable attorneys' fees to the party who substantially prevails in the arbitration. If, after finding in your favor in any
   respect on the merits of your claim, the arbitrator issues you an award that is greater than the value of our last written
   settlement offer made before an arbitrator was selected, then we will pay you the amount of the award or the loan
   amount plus any finance fees paid, whichever is greater. If you would be entitled to a larger amount under applicable law,
   this provision does not preclude the arbitrator from awarding you that amount. However, you may not recover duplicative
   awards of attorneys' fees or costs.

   LOCATION OF ARBITRATION: Any arbitration under this Agreement may be conducted either on Tribal land or within
   thirty (30) miles of your then current residence, at your choice, provided that this accommodation for you shall not be
   construed in any way (a) as a relinquishment or waiver of the sovereign status or immunity of the Tribe, (b) to allow for
   the application of any law other than Tribal Law, or (c) to constitute a transaction of business in any place other than the
   Indian country of the Tribe. Any party may participate in arbitration exclusively by telephonic or other electronic means.


   WAIVER OF RIGHTS: BY ENTERING INTO THIS AGREEMENT, YOU ACKNOWLEDGE AND AGREE THAT YOU ARE
   WAIVING YOUR RIGHT TO (A) HAVE A JURY TRIAL TO RESOLVE DISPUTES, (B) HAVE A COURT RESOLVE
   DISPUTES, (C) PARTICIPATE IN A CLASS ACTION LAWSUIT, AND (D) HAVE ACCESS TO DISCOVERY AND
   OTHER PROCEDURES THAT ARE AVAILABLE IN A LAWSUIT.


   The arbitrator has the ability to award all remedies available under Tribal Law, whether at law or in equity, to the
   prevailing party, except that you and we agree that the arbitrator has no authority to conduct class-wide proceedings and
   will be restricted to resolving individual Disputes. The arbitrator may award such remedies only in favor of the individual
   party seeking relief and only to the extent necessary to prove relief warranted by that party's individual claim. Further,
   unless both you and we agree otherwise, the arbitrator may not consolidate more than one person's claims, and may not
   otherwise preside over any form of a representative or class proceeding. The validity, effect, and enforceability of the
   waivers of class action lawsuit and class-wide arbitration, if challenged, are to be determined solely by a Tribal court of
   competent jurisdiction and not by the CPR, JAMS, or an arbitrator. If the Tribal court refuses to enforce the class-wide
   arbitration waiver, the parties agree that the Dispute will proceed in Tribal court and will be decided by a Tribal court
   judge, sitting without a jury, under applicable Tribal court rules and procedures, and not as a class action lawsuit. As an
   integral component of accepting this Agreement, you irrevocably consent to the exclusive jurisdiction of the Tribal courts
   for purposes of this Agreement.

   APPLICABLE LAW AND JUDICIAL REVIEW OF ARBITRATOR'S AWARD: THIS AGREEMENT TO ARBITRATE
   SHALL BE GOVERNED BY TRIBAL LAW. The arbitrator shall apply Tribal Law and the terms of this Agreement,
   including this Agreement to Arbitrate and the waivers included herein. The arbitrator may decide, with or without a
   hearing, any motion that is substantially similar to a motion to dismiss for failure to state a claim or a motion for
   summary judgment. The arbitrator shall make written findings and the arbitrator's award may be filed with a Tribal court.
   The arbitration award shall be supported by substantial evidence and must be consistent with this Agreement and Tribal
   Law, and if it is not, it may be set aside by a Tribal court upon judicial review. During the arbitration, the amount of any
   settlement offer made by us or you shall not be disclosed to the arbitrator until after the arbitrator determines the
   amount, if any, to which you or we are entitled. The parties will have the right to judicial review in a Tribal court of (a)
   whether the findings of fact rendered by the arbitrator are supported by substantial evidence and (b) whether the
   conclusions of law are erroneous under Tribal Law. Judgment confirming an award in such a proceeding may be entered
   only if a Tribal court determines that the award is supported by substantial evidence and is not based on legal error under
   Tribal Law.

   SURVIVAL: This Agreement to Arbitrate will survive: (1) the cancellation, payment, charge-off, or assignment of this
   Agreement; (2) the bankruptcy of any party; and (3) any transfer, sale, or assignment of this Agreement, or any
   amounts owed under this Agreement, to any other person or entity.



  PLEASE CAREFULLY REVIEW THIS AGREEMENT, WHICH INCLUDES A WAIVER OF JURY TRIAL AND ARBITRATION
  AGREEMENT THAT MAY BE ENFORCED BY YOU AND US. IF YOU HAVE QUESTIONS, PLEASE CONTACT CUSTOMER
  SERVICE AT (877) 836-1506.
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   By electronically signing this Agreement: You certify that all information you gave us in connection with your
   application and this Agreement is true and correct, and you authorize us to verify any information you provided. You give us
   consent to obtain information about you from one or more consumer reporting agencies and other sources. You acknowledge
   that: (a) you have read, understand, and agree to all of the terms and conditions of (i) this Agreement, including the truth-
   in-lending disclosures and the Waiver of Jury Trial and Arbitration Agreement, and (ii) Lender's Privacy Policy
   (https://www.greatplainslending.com/faq/privacy-policy) (b) this Agreement contains all of the terms of the agreement
   between you and us and that no representations or promises other than those contained in this Agreement have been made;
   (c) if you elect below to repay this Loan via ACH debits to your Bank Account, you specifically authorize withdrawals and
   deposits to and from your Bank Account as described in this Agreement; (d) you are not a debtor under any proceeding in
   bankruptcy and have no intention to file a petition for relief under any chapter of the United States Bankruptcy Code; (e) this
   Agreement was filled in before you signed it; (f) you have the ability to print or retain a completed copy of this Agreement;
   and (g) we have not made the Loan contingent upon your obtaining any other product or service from us or anyone else.
   You further acknowledge that we may withhold funding of your Loan until (i) we confirm that you have made all payments
   on any previous loans with Lender, (ii) we verify that all information you gave us on your application is true and (iii) we
   decide whether you meet our requirements to receive the Loan.

   b By checking here and signing below, you understand, acknowledge and agree that Great Plains Lending, LLC
   c
   d
   e
   f
   g
   is a tribal lending entity wholly owned by Otoe-Missouria Tribe of Indians, a federally recognized tribe. You
   further understand, acknowledge and agree that this Loan is governed by the laws of the Otoe-Missouria Tribe
   and is not subject to the provisions or protections of the laws of your home state or any other state. If you wish
   to have your resident state law apply to any loan that you take out, you should consider taking a loan from a
   licensed lender in your state.


   Please review and select one of these funding/payment options:
    i ELECTRONIC (as soon as the next business day): By checking here and signing below, you agree to the ACH Authorization set forth in
    j
    k
    l
    m
    n
   this Agreement, which allows us to debit and credit your Bank Account for this Loan. You acknowledge and agree that the ACH Authorization
   is for the benefit of Great Plains Lending, LLC, its affiliates, agents, representatives, employees, successors, and registered assigns. You
   acknowledge that you are not required to consent to receive funds or repay your Loan by ACH or other electronic payment method.

    j POSTAL MAIL (allow 7 to 10 days for delivery): By checking here and signing below, you request Loan proceeds be distributed to you
    k
    l
    m
    n
   by check and delivered by regular mail through the U.S. Postal Service. If you elect to receive your proceeds by mail, you must make
   payments as explained in the "Payments" section above. You acknowledge that interest begins accruing on the Effective Date set forth at the
   top of this Agreement.



             Your Full Name:                             Type 'I Agree':         Date:
             Stephanie Lazette Edwards                   I Agree                 7/17/2015

   Great Plains Lending, LLC
   Ver. 24
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                   EXHIBIT 4
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                   THIS AGREEMENT SHALL NOT CONSTITUTE A “NEGOTIABLE INSTRUMENT”

                                Consumer Installment Loan Agreement
                                            Loan Number: 73784134

                                          Great Plains Lending, LLC
                                      Otoe-Missouria Indian Reservation
                                            Red Rock, OK 74651
                                              (877) 836-1506

 Lender:                                              Borrower's Name:
 Great Plains Lending, LLC                            Patrick Inscho

 Origination Date: 3/31/2016                          Borrower's ID:
 This is the date you signed and                      *******6616
 submitted
 this Agreement to the Lender.                        Borrower's Address:
                                                      REDACTED
 Disbursement Date: On or
 about 3/31/2016
 This is the date that the Loan proceeds              Borrower's Bank and Account Number
 are released.                                        for ACH Transfers (the "Bank Account"):
                                                      pnc bank REDACTED
 Effective Date: 4/1/2016
 This is the date that interest begins to
 accrue.

 Final Payment Due Date: 7/17/2017
 This is the Loan maturity date.

 In this Consumer Installment Loan Agreement (this “Agreement”), “you” and “your” refer to
 the Borrower identified above. “We”, “us”, “our”, and “Lender” refer to Great Plains Lending,
 LLC, a lender authorized by the laws of the Otoe-Missouria Tribe of Indians (the “Otoe-
 Missouria Tribe” or “Tribe”), a federally recognized Indian Tribe, and any assignee of Lender or
 subsequent holder of this Agreement. “Tribal” refers to the Otoe-Missouria Tribe, and “Tribal
 Law” means any law or regulation duly enacted by the Otoe-Missouria Tribe. “Loan” means the
 consumer installment loan made by Lender to Borrower under this Agreement.

 IMPORTANT DISCLOSURE
 PLEASE READ THIS DISCLOSURE CAREFULLY BEFORE SIGNING THIS AGREEMENT. LENDER IS AN
 ARM OF THE TRIBE, IT IS A COMMERCIAL ENTITY FORMED PURSUANT TO TRIBAL LAW, IT IS
 OWNED AND OPERATED BY THE TRIBE AND IT FUNCTIONS AS A NON-PROFIT COMMERCIAL
 ENTITY OF THE TRIBE, FORMED FOR THE EXPRESS PURPOSE OF ECONOMIC DEVELOPMENT. BOTH
 THE LENDER AND THE TRIBE ARE IMMUNE FROM SUIT IN ANY COURT UNLESS THE TRIBE,
 THROUGH ITS TRIBAL COUNCIL, EXPRESSLY WAIVES THAT IMMUNITY THROUGH A FORMAL,
 WRITTEN RESOLUTION OF THE TRIBE’S TRIBAL COUNCIL. THE LENDER IS REGULATED BY THE
 TRIBE’S CONSUMER FINANCE SERVICES REGULATORY COMMISSION (THE “COMMISSION”). YOUR
 RIGHT TO SUBMIT COMPLAINTS IS LIMITED TO THE DISPUTE RESOLUTION PROCESS SET FORTH
 IN THIS AGREEMENT AND TO THE COMMISSION IN ACCORDANCE WITH THE TRIBE’S CONSUMER
 LENDING CODE AND ACCOMPANYING REGULATIONS, IF ANY.


 YOU AGREE THAT THIS LOAN IS MADE WITHIN THE TRIBE’S JURISDICTION AND IS SUBJECT TO
 AND GOVERNED BY TRIBAL LAW AND NOT THE LAW OF YOUR RESIDENT STATE. IN MAKING THIS
 LOAN, YOU CONSENT TO TRIBAL JURISDICTION FOR THIS LOAN. YOUR RESIDENT STATE LAW
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 MAY HAVE INTEREST RATE LIMITS AND OTHER CONSUMER PROTECTION PROVISIONS THAT ARE
 MORE FAVORABLE. IF YOU WISH TO HAVE YOUR RESIDENT STATE LAW APPLY TO ANY LOAN
 THAT YOU TAKE OUT, YOU SHOULD CONSIDER TAKING A LOAN FROM A LICENSED LENDER IN
 YOUR STATE. IN ANY EVENT, YOU SHOULD CAREFULLY EVALUATE YOUR FINANCIAL OPTIONS
 BEFORE TAKING OUT A LOAN. THIS LOAN HAS A HIGH INTEREST RATE AND IT IS NOT INTENDED
 TO PROVIDE A SOLUTION FOR LONGER TERM CREDIT OR OTHER FINANCIAL NEEDS.
 ALTERNATIVE FORMS OF CREDIT MAY BE LESS EXPENSIVE AND MORE SUITABLE FOR YOUR
 FINANCIAL NEEDS. PLEASE CONSIDER YOUR ABILITY TO REPAY THE LOAN. IF YOU ARE HAVING
 FINANCIAL DIFFICULTIES, YOU SHOULD SEEK THE ASSISTANCE OF FINANCIAL COUNSELORS.
 BEFORE SIGNING THIS AGREEMENT, PLEASE CAREFULLY READ ITS TERMS. YOUR SIGNATURE AND
 ACCEPTANCE OF THIS LOAN WILL BE DEEMED AS PROOF THAT YOU HAVE READ THIS
 AGREEMENT, YOU HAVE APPROVED OF ALL OF ITS TERMS, INCLUDING CONSENTING TO TRIBAL
 JURISDICTION, YOU HAVE PROVIDED THE LENDER WITH THE MOST CURRENT AND ACCURATE
 EMPLOYMENT, CREDIT, INCOME, AND ASSET HISTORY REQUIRED FOR LENDER TO ASSESS YOUR
 ELIGIBILITY AND CREDITWORTHINESS, AND AFFIRMATIVELY ACKNOWLEDGE THAT YOU ARE
 ABLE TO REPAY THE LOAN ACCORDING TO THE TERMS OF THIS AGREEMENT.


 TRUTH IN LENDING DISCLOSURES: We provide the following truth-in-lending disclosures so that you can
 compare the cost of this Loan to other loan products you might obtain in the United States. Our inclusion of
 these disclosures does not mean that we or any subsequent holder of this Agreement consent to application
 of state or federal law to us, to the Loan, or this Agreement.

                                     TRUTH-IN-LENDING DISCLOSURES



         ANNUAL                 FINANCE CHARGE            Amount Financed           Total of Payments
     PERCENTAGE RATE
                               The dollar amount the     The amount of credit       The amount you will
     The cost of your credit    credit will cost you.    provided to you or on     have paid after making
        as a yearly rate.                                     your behalf.            all payments as
                                                                                         scheduled.

           219.38%                   $3,392.68                 $1,700.00                 $5,092.68


  PAYMENT SCHEDULE: Your Payment Schedule will be as set forth in the following table, with each due
  date being referred to herein as a “Payment Due Date”:

         Number of Payments                 Amount of Payments              When Payments Are Due


                                                                              4/11/2016, 4/25/2016,
                                                                               5/9/2016, 5/23/2016,
                                                                               6/6/2016, 6/20/2016,
                                                                               7/4/2016, 7/18/2016,
                                                                               8/1/2016, 8/15/2016,
                                                                              8/29/2016, 9/12/2016,
                                                                              9/26/2016, 10/10/2016,
                                                                              10/24/2016, 11/7/2016,
                   33                              $149.79                    11/21/2016, 12/5/2016,
                                                                              12/19/2016, 1/2/2017,
                                                                              1/16/2017, 1/30/2017,
                                                                              2/13/2017, 2/27/2017,
                                                                              3/13/2017, 3/27/2017,
                                                                              4/10/2017, 4/24/2017,
                                                                               5/8/2017, 5/22/2017,
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                                                                                 6/5/2017, 6/19/2017,
                                                                                       7/3/2017


                    1                               $149.61                            7/17/2017


  PREPAYMENT: If you pay off early, you will not have to pay a penalty.

  See the Agreement below for any additional information about nonpayment, default, any required
  repayment in full before the scheduled date, and prepayment refunds and penalties.




    Itemization of Amount Financed:

    Amount given to you directly:                                                                    1700.00

    Plus, Amount paid on your account with Lender - Loan # ________:                                   $0.00

    Equals, Amount Financed:                                                                       $1,700.00


 PROMISE TO PAY: You promise to pay to the order of Lender the principal sum of $1,700.00 plus interest
 from the Effective Date of this Loan at the rate of 219.9855% per year until this loan is repaid in full. You
 agree to make payments in the amounts and on or before the Payment Due Dates shown in the Payment
 Schedule above. You also promise to pay to Lender all other fees and charges provided for under this
 Agreement.

 INTEREST: Interest will accrue daily on the unpaid principal balance of this Loan, beginning on the Effective
 Date, until paid in full. We calculate interest based on a 365-day year. In calculating your payments, we have
 assumed you will make each payment on the day and in the amount due. If any payment is received after
 the Payment Due Date, you must pay any additional interest that accrues after the Payment Due Date. If any
 payment is made before a Payment Due Date, the interest due on the scheduled payment will be reduced,
 and you will owe less interest. The amount of any decrease or increase in interest due will affect the amount
 of your final payment. If the amount of any payment is not enough to pay the interest due, the unpaid
 interest will be paid from your next payment(s), if any, and will not be added to the principal balance. Time is
 of the essence, which means that there are no grace periods for when payments must be made. There is no
 separate late charge if you fail to make payments in accordance with the Payment Schedule. However, if you
 do not make each payment in full on the Payment Due Dates as agreed, Lender may continue to charge
 interest on past due amounts at the interest rate set forth in the “Promise to Pay” section. The interest rate
 and other charges under this Agreement will never exceed the highest rate or charge allowed by Tribal Law
 for this Loan. If the amount collected is found to exceed the highest rate or charge allowed, Lender will
 refund an amount necessary to comply with Tribal Law.

 PAYMENTS: Lender will apply your payments in the following order: (1) to any fees due, (2) to accrued but
 unpaid interest, and (3) to principal amounts outstanding. If you have chosen the ACH Authorization option,
 each scheduled payment, plus any fees due to us (if applicable), will be debited from your Bank Account on
 each Payment Due Date. See the ACH Authorization below for further information.

 If you have chosen to receive your Loan proceeds via check and to repay all amounts due pursuant to this
 Agreement via check, money order or certified check, please mail each payment payable to Great Plains
 Lending, LLC, P.O. Box 42906, Philadelphia, PA 19101 (or by overnight mail or courier service to Great Plains
 Lending c/o MetaSource, 1900 Frost Road, Suite 100, Bristol, PA 19007), for forwarding to and receipt and
 processing on the Otoe-Missouria Indian reservation, in time for Lender to receive the payment by 5:00 p.m.
 Eastern Time on the Payment Due Date.

 PREPAYMENT: You may prepay this Loan in whole or in part at any time without penalty. If you prepay in
 part, you must still make each later payment according to the Payment Schedule above until this Loan is paid
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 in full. Any amounts you prepay will not continue to accrue interest.

 RIGHT OF RESCISSION: You may rescind or cancel this Loan if you do so on or before 5:30 p.m., Eastern
 Time, on the fifth business day after the Origination Date (the “Rescission Deadline”). To cancel, call Lender
 at (877) 836-1506 to tell us you want to rescind or cancel this Loan and provide us written notice of
 rescission as directed by our customer service representative.

 If you have provided an ACH Authorization: If we timely receive your written notice of rescission on or
 before the Rescission Deadline but before the Loan proceeds have been credited to your Bank Account, we
 will not deposit your Loan proceeds to your Bank Account and both ours and your obligations under this
 Agreement will be rescinded. If we timely receive your written notice of rescission on or before the Rescission
 Deadline but after the Loan proceeds have been credited to your Bank Account, we will debit your Bank
 Account for the principal amount owing under this Agreement. If we receive payment of the principal amount
 via the debit, ours and your obligations under this Agreement will be rescinded. If we do not receive payment
 of the principal amount via the debit, then the Agreement will remain in full force and effect until all amounts
 owed under this Agreement are repaid in full, including any interest and fees.

 If you have elected to receive your Loan proceeds via check delivered by mail: If we timely receive your
 written notice of rescission on or before the Rescission Deadline, and (a) if we have not mailed the check
 representing the Loan proceeds to you or (b) if you have not cashed the check representing the Loan
 proceeds, then we will cancel the check and both ours and your obligations under this Agreement will be
 rescinded. If you have cashed the check representing the Loan proceeds, you must return the full amount of
 cash you received to us by the Rescission Deadline. If we receive the full amount by the Rescission Deadline,
 ours and your obligations under this Agreement will be rescinded. If we do not receive the full amount by the
 Rescission Deadline, then the Agreement will remain in full force and effect until all amounts owed under this
 Agreement are repaid in full, including any interest and fees.

 Any pre-assessed fee shall not be deemed security for this Loan and shall be returned by a credit entry to
 your Bank Account within three (3) business days of an effective rescission.

 CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either
 use information from your check to make a one-time electronic withdrawal from your Bank Account or to
 process the payment as a check transaction. When we use information from your check to make a
 withdrawal from your Bank Account, funds may be withdrawn from your Bank Account as soon as the same
 day we receive your payment, and you will not receive your check back from your financial institution. For
 questions, please call our customer service phone number, (877) 836-1506.

 RETURNED PAYMENT FEES; BORROWER BANK CHARGES: If any payment made by you on this Loan is
 not honored or cannot be processed for any reason, including not enough money in your Bank Account, you
 agree to pay us a fee of $30.00 and you agree that we may recover court costs and reasonable attorney’s
 fees incurred by us. If you have elected to repay this Loan via ACH debits to your Bank Account, for each
 returned payment, you authorize Lender and its agents and representatives to make a one-time withdrawal
 from your Bank Account to collect this fee. Your financial institution may also charge a fee if your Bank
 Account becomes overdrawn or if a payment is attempted against your Bank Account that would cause it to
 become overdrawn. You will not hold us or our agents, representatives, successors or assigns responsible for
 any such fee you must pay.

 SECURITY: No security interest is taken or given in connection with this Loan.

 REFINANCE POLICY: Subject to our credit policies, we will determine, in our sole discretion, whether your
 Loan may be refinanced.

 DEFAULT: You will have broken your promise you made to us in this Agreement (each, a “Default”) if: (a)
 you provide false or misleading information about yourself, your employment or your financial condition prior
 to entering into this Agreement, (b) you fail to make a payment in full by the applicable Payment Due Date
 or if your payment is returned to us for any reason, or (c) you file bankruptcy or become a debtor under U.S.
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 federal bankruptcy laws.

 CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we
 may, at our option, do any one or more of the following things: (a) require you to immediately pay us
 everything you owe us under this Agreement; (b) if you have elected to repay this Loan via ACH debits to
 your Bank Account, withdraw money from your Bank Account that was not available when we tried to
 withdraw it at an earlier time; and (c) pursue all legally available means to collect what you owe us. By
 signing this Agreement you waive notice of default, dishonor, demand for payment, protest, presentment,
 and any other notices. Amounts you owe Lender includes the unpaid principal balance of this Loan, all unpaid
 accrued fees and interest (including unpaid interest owing on past due amounts), and any costs and fees
 Lender incurs in connection with this Agreement. In the event we declare all amounts owed under this
 Agreement immediately due because you did not pay us, then, if you have elected to repay this Loan via ACH
 debits to your Bank Account, you further authorize us and our agents and representatives to withdraw
 money from your Bank Account in the full amount due under this Agreement. By choosing to exercise any
 one of more of these remedies, we do not give up our right to use another way to collect the money you owe
 us later. We may decide not to use any of the ways described above to get back the money that you owe us.
 If so, we do not give up our right to consider what you said you would do to make payment(s) and, if you fail
 to make those payment(s), we will consider you to be in Default. In any proceeding in which a Lender is a
 party in interest with respect to any transactions with Borrower under Tribal law, Lender’s rights and
 remedies shall be granted based upon prima facie proof and entitlement based upon the terms of this
 Agreement and the payment and business records maintained by Lender in the ordinary course of business.
 Any claims or defenses whatsoever asserted by or on behalf of Borrower shall be subject to the dispute
 resolution process and jurisdiction agreed to in this Agreement.

 CREDIT REPORTING: You agree that Lender may make inquiries concerning your credit history and
 standing, and may report information concerning your performance under this Agreement to credit reporting
 agencies. Late payments, missed payments or other defaults on your Loan may be reflected in your credit
 report.

 CHANGE OF PRIMARY RESIDENCE: You agree to notify Lender of any change in your primary residence
 as soon as practicable, but no later than five (5) days after any change. You agree that the address provided
 on this Agreement will govern this Agreement until you have met all obligations under this Agreement and
 that any subsequent change in your primary residence will not affect the terms or enforceability of this
 Agreement.

 CORRESPONDENCE WITH LENDER: General correspondence with Lender concerning this Loan, this
 Agreement or your relationship with Lender must be directed to Lender at the following address: Great Plains
 Lending, LLC, 1050 East 2nd Street, Box 500, Edmond, Oklahoma 73034. Communications related to the
 bankruptcy of the Borrower must be directed to Lender at the following address: Great Plains Lending, LLC,
 Attn: Bankruptcy Handling, 1050 East 2nd Street, Box 500, Edmond, Oklahoma 73034.

 FORCE MAJEURE: Unavoidable delays as a result of inadvertent processing errors and/or “acts of God” may
 extend the time for the deposit of Loan proceeds and the processing of payments owing hereunder.

 TRANSFER OF RIGHTS; HYPOTHECATION AND MAINTENANCE OF REGISTER: This instrument is non-
 negotiable in form but may be pledged as collateral security. If so pledged, any payment made to the payee,
 either of principal or of interest, upon the debt evidenced by this obligation, shall be considered and
 construed as a payment on this instrument, the same as though it were still in the possession and under the
 control of the payee named herein; and the pledgee holding this instrument as collateral security hereby
 makes said payee its agent to accept and receive payments hereon, either of principal or of interest.

 You agree that we may assign or transfer this Agreement, or any of our rights hereunder, to any other
 person or entity without prior notice to or consent from you. Regardless of any transfer, this Agreement shall
 remain exclusively subject to Tribal Law and courts of the Otoe-Missouria Tribe. Great Plains Lending, LLC
 (the “Registrar”), acting solely for this purpose as your irrevocably appointed agent, shall maintain at an
 office located in the United States a copy of each assignment of this Agreement delivered to it and a register
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 (the “Register”) for the recordation of the names and addresses of the original owner, assignees, and
 persons holding participation interests in the Loan, and the amounts of principal and interest owing to each
 from time to time pursuant to the terms of this Loan. The Register may be in electronic form. The entries of
 the Register shall be conclusive, and you, the Registrar, the Lender and all of its assignees and participants
 shall treat each person whose name is recorded in the Register pursuant to these terms as the owner of such
 principal and interest payments for all purposes of this Agreement, notwithstanding notice to the contrary.
 The name of the owner in the Register shall be available to you by written request to the Registrar at any
 reasonable time and from time to time upon reasonable prior notice. The foregoing is intended to result in
 this Agreement being in “registered form” within the meaning of U.S. Treasury Regulations Section 1.871-
 14(c) and Sections 163(f), 871(h) and 881(c) of the Internal Revenue Code of 1986, as amended, and shall
 be interpreted and applied in a manner consistent therewith. Any fees and expenses of the Registrar for its
 services shall be charged to the registered owner of the loan and not to you.

 SUCCESSORS AND ASSIGNS: This Agreement is binding upon your heirs and personal representatives in
 probate and upon anyone to whom you assign your assets or who succeeds you in any other way; provided,
 however, that you may not assign or transfer this Agreement except with Lender’s prior written consent.

 SERVICING COMMUNICATIONS AND COMMUNICATIONS AFTER DEFAULT: You authorize Lender and
 its authorized representatives to contact you according to your consent provided in your application or
 according to your account preferences, as modified by you after submitting your application. This may
 include (i) calling you during reasonable hours at any of the phone numbers listed on your most recent
 application (a) prior to each Payment Due Date to remind you of the payment due and (b) and for other
 matters related to your account, (ii) contacting you by text message or other wireless communication
 method on the mobile phone number listed on your application, (iii) leaving a message with a person or a
 voice mail service, and (iv) contacting you using autodialers or pre-recorded messages, including calls to
 your mobile phone.



                                              ACH AUTHORIZATION
            (applies only if (a) you select the electronic funding/payment option below or
                              (b) authorize recurring Debit Card payments)


    This ACH Authorization is a part of and relates to this Agreement. You voluntarily authorize us, and our
    successors, affiliates, agents, representatives, employees and assigns, to initiate automatic credit and
    debit entries to your Bank Account in accordance with this Agreement. You agree that we will initiate a
    credit entry to your Bank Account for the Amount Financed on or about the Disbursement Date. You
    agree that we will initiate a debit entry to your Bank Account on each Payment Due Date in the
    payment amount described in the Payment Schedule. For each scheduled payment, whenever a debit
    entry to your Bank Account is returned to us for any reason, we may initiate a debit entry to your Bank
    Account up to two additional times after our first attempt for each scheduled payment amount. You
    also agree that we will initiate a debit entry for any accrued returned payment fees and any interest
    that accrues on overdue amounts. If your payment is due on a non-business day, it will be processed
    on the next business day.

    You agree that this ACH Authorization is for repayment of a consumer installment loan and that
    payments shall recur at substantially regular intervals as set forth in this Agreement. This ACH
    Authorization is to remain in full force and effect for this transaction until you pay your Loan, including
    any interest and fees, in full. You may revoke this ACH Authorization by contacting us directly or your
    financial institution. If you revoke your ACH Authorization, you agree to make payments to us by
    check, certified check or money order as set forth in the “Payments” section above. In no event will
    any revocation of this ACH Authorization be effective with respect to entries processed by us prior to
    us receiving such revocation.

    You agree that we may obtain information about you and your Bank Account from your bank and/or
    consumer reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If
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    there is any missing or incorrect information in or with your application regarding your bank, bank
    routing number, or account number, then you authorize us to verify and correct such information.

    Your bank may charge you a fee in connection with our credit and/or debit entries. Contact your
    financial institution for more information specific to your Bank Account.

    This ACH Authorization is subject to the following provisions:

    (1) Right to stop payment and procedure for doing so. If you have told us in advance to make regular
    payments out of your Bank Account, you can stop any of these payments. Here’s how: Call us at (877)
    836-1506 or write us at 1050 East 2nd Street, Box 500, Edmond, Oklahoma 73034, in time for us to
    receive your request 3 business days or more before the payment is scheduled to be made. If you call,
    we may also require you to put your request in writing and get it to us within 14 days after your call.

    (2) Liability for failure to stop payment of preauthorized transfer. If you order us to stop one of these
    payments three (3) business days or more before the transfer is scheduled, and we do not do so, we
    will be liable for your losses or damages.

    (3) Notice of varying amounts. You acknowledge that you will receive a notice at least 10 days before a
    payment is debited from your Bank Account if the payment we are going to debit from your Bank
    Account varies from the amount disclosed in the Schedule of Payments above. You have the right to
    receive notice of all varying amounts.

    This ACH Authorization is a payment mechanism only and does not give us collection rights greater
    than those otherwise contained in this Agreement. This ACH Authorization does not constitute and is
    not intended to constitute a security interest under Tribal Law.

    If you associate one or more debit cards with your account with Lender (each a “Debit Card”) and
    authorize Lender to initiate recurring payments on your Loan using a Debit Card, the terms of the
    foregoing ACH Authorization will apply equally to recurring payments made by Debit Card.


 ENTIRE AGREEMENT; SEVERABILITY. This Agreement, including the Waiver of Jury Trial and Arbitration
 Agreement, constitutes the entire agreement between Borrower and Lender, and it may not be contradicted
 by evidence of prior or contemporaneous oral agreements between them. If any provision of this Agreement
 is held unenforceable, including any provision of the Waiver of Jury Trial and Arbitration Agreement, the
 remainder of this Agreement shall remain in full force and effect.

 GOVERNING LAW; NON-APPLICABILITY OF STATE LAW; INTERSTATE COMMERCE: This Agreement
 and the Agreement to Arbitrate are governed by Tribal Law and such federal law as is applicable under the
 Indian Commerce Clause of the Constitution of the United States of America. We do not have a presence in
 Oklahoma or any other state of the United States of America. Neither this Agreement nor the Lender is
 subject to the laws of any state of the United States. The Lender may choose to voluntarily use certain
 federal laws as guidelines for the provision of services. Such voluntary use does not represent acquiescence
 of the Otoe-Missouria Tribe to any federal law unless found expressly applicable to the operations of the
 Otoe-Missouria Tribe. You and we agree that the transaction represented by this Agreement involves
 interstate commerce for all purposes.



                            WAIVER OF JURY TRIAL AND ARBITRATION AGREEMENT
    This Agreement includes the following binding Waiver of Jury Trial and Arbitration
    Agreement (the “Agreement to Arbitrate”). You may opt out of the Agreement to Arbitrate
    by following these instructions:

    RIGHT TO OPT-OUT: IF YOU DO NOT AGREE TO ARBITRATE ALL DISPUTES (DEFINED BELOW) IN
    ACCORDANCE WITH THE TERMS AND CONDITIONS OF THE AGREEMENT TO ARBITRATE, YOU MUST
    ADVISE US IN WRITING EITHER BY (A) MAILING A LETTER POSTMARKED NO LATER THAN 60 DAYS
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   FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT, TO 1050 EAST
   2ND STREET, BOX 500, EDMOND, OKLAHOMA 73034, OR (B) BY EMAIL DATED NO LATER THAN 60
   DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT THE TOP OF THIS AGREEMENT TO
   SUPPORT@GREATPLAINSLENDING.COM. YOUR OPT-OUT CORRESPONDENCE MUST CLEARLY PRINT OR
   TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL SECURITY NUMBER AND STATE THAT YOU
   REJECT ARBITRATION. YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE IF IT IS NOT IN
   WRITING OR IF IS DATED LATER THAN 60 DAYS FOLLOWING THE ORIGINATION DATE SET FORTH AT
   THE TOP OF THIS AGREEMENT; IT IS NOT SUFFICIENT TO TELEPHONE US. IN THE EVENT YOU OPT
   OUT OF THE AGREEMENT TO ARBITRATE, ANY DISPUTES SHALL NONETHELESS BE GOVERNED UNDER
   TRIBAL LAW AND MUST BE BROUGHT WITHIN THE COURT SYSTEM OF THE OTOE-MISSOURIA TRIBE.

   PLEASE CAREFULLY READ THIS AGREEMENT TO ARBITRATE. UNLESS YOU EXERCISE YOUR
   RIGHT TO OPT-OUT OF ARBITRATION AS DESCRIBED ABOVE, YOU AGREE THAT ANY
   DISPUTE YOU HAVE RELATED TO THIS AGREEMENT WILL BE RESOLVED BY BINDING
   ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO TO COURT, INCLUDING THE
   RIGHT TO HAVE A JURY, TO ENGAGE IN DISCOVERY (EXCEPT AS MAY BE PROVIDED IN THE
   ARBITRATION RULES), AND TO PARTICIPATE AS A REPRESENTATIVE OR MEMBER OF ANY
   CLASS OF CLAIMANTS OR IN ANY CONSOLIDATED ARBITRATION PROCEEDING OR AS A
   PRIVATE ATTORNEY GENERAL. OTHER RIGHTS THAT YOU WOULD HAVE IF YOU WENT TO
   COURT MAY ALSO BE UNAVAILABLE IN ARBITRATION.

   AGREEMENT TO ARBITRATE: You and we (defined below) agree that any Dispute (defined below)
   will be resolved by Arbitration.

   WHAT ARBITRATION IS: “Arbitration” is having an independent third-party resolve a Dispute. A
   “Dispute” is any claim or controversy of any kind between you and us or otherwise involving this
   Agreement or the Loan. The term Dispute is to be given its broadest possible meaning and includes,
   without limitation, all federal, state or Tribal Law claims or demands (whether past, present, or future),
   based on any legal or equitable theory and regardless of the type of relief sought (i.e., money,
   injunctive relief, or declaratory relief). A Dispute includes any issue concerning the validity,
   enforceability, or scope of this Agreement or this Agreement to Arbitrate.

   For purposes of this Agreement to Arbitrate, (a) the terms “you” and “your” mean you, the borrower,
   and include your heirs, guardian, personal representative, or trustee in bankruptcy, and (b) the terms
   “we,” “our,” and “us” mean Lender, our agents servicers, assigns, vendors or any third-party, Lender’s
   affiliated companies, the Tribe, Lender’s servicing and collection companies, representatives and
   agents, and each of their respective agents, representatives, employees, officers, directors, members,
   managers, attorneys, successors, predecessors, and assigns.

   HOW ARBITRATION WORKS: If a Dispute arises, the party asserting the claim or demand must
   initiate arbitration, provided you or we may first try to resolve the matter informally or through
   customary business methods, including collection activity. A party who intends to seek arbitration must
   first send to the other, by email, a Notice of Dispute (Notice). You must send the Notice to Lender at
   support@greatplainslending.com. The Notice must (a) have the subject heading “Notice of Dispute;” (b)
   describe the nature and basis of the claim or dispute; and (c) set for the specific relief sought
   (Demand). If Lender and you do not reach an agreement to resolve the claim within thirty (30) days
   after the Notice is received, you or Lender may commence an arbitration proceeding. The party
   requesting arbitration must choose either of the following arbitration firms for initiating and pursuing
   arbitration: the International Institute for Conflict Prevention & Resolution (“CPR”) or JAMS, The
   Resolution Experts (“JAMS”). If you claim you have a Dispute with us, but do not initiate arbitration or
   select an arbitration firm, we may do so. You may obtain copies of the current rules of each of the
   arbitration firms and forms and instructions for initiating arbitration by contacting them as follows:

       International Institute for                      JAMS, The Resolution Experts
       Conflict Prevention & Resolution, Inc.           1920 Main Street, Suite 300
       575 Lexington Ave, 21st Floor                    Irvine, CA 92614
       New York, NY 10022                               Website: http://www.jamsadr.com/
       Website: http://www.cpradr.org/                  Telephone: (949) 224-1810 or
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       Telephone: (212) 949-6490                         (800) 352-5267

   The policies and procedures of the selected arbitration firm applicable to consumer transactions will
   apply provided such policies and procedures do not contradict this Agreement to Arbitrate or Tribal
   Law. To the extent the arbitration firm’s rules or procedures are different than the terms of this
   Agreement to Arbitrate, the terms of this Agreement to Arbitrate will apply.

   WHAT ARBITRATION COSTS: No matter which party initiates the arbitration, we will advance or
   reimburse filing fees and other costs or fees of arbitration for all non-frivolous claims, provided each
   party will be initially responsible for its own attorneys’ fees and related costs. Unless prohibited by
   Tribal Law, the arbitrator may award fees, costs, and reasonable attorneys’ fees to the party who
   substantially prevails in the arbitration. If, after finding in your favor in any respect on the merits of
   your claim, the arbitrator issues you an award that is greater than the value of our last written
   settlement offer made before an arbitrator was selected, then we will pay you the amount of the award
   or the loan amount plus any finance fees paid, whichever is greater. If you would be entitled to a
   larger amount under applicable law, this provision does not preclude the arbitrator from awarding you
   that amount. However, you may not recover duplicative awards of attorneys’ fees or costs.

   LOCATION OF ARBITRATION: Any arbitration under this Agreement may be conducted either on
   Tribal land or within thirty (30) miles of your then current residence, at your choice, provided that this
   accommodation for you shall not be construed in any way (a) as a relinquishment or waiver of the
   sovereign status or immunity of the Tribe, (b) to allow for the application of any law other than Tribal
   Law, or (c) to constitute a transaction of business in any place other than the Indian country of the
   Tribe. Any party may participate in arbitration exclusively by telephonic or other electronic means.

   WAIVER OF RIGHTS: BY ENTERING INTO THIS AGREEMENT, YOU ACKNOWLEDGE AND
   AGREE THAT YOU ARE WAIVING YOUR RIGHT TO (A) HAVE A JURY TRIAL TO RESOLVE
   DISPUTES, (B) HAVE A COURT RESOLVE DISPUTES, (C) PARTICIPATE IN A CLASS ACTION
   LAWSUIT, AND (D) HAVE ACCESS TO DISCOVERY AND OTHER PROCEDURES THAT ARE
   AVAILABLE IN A LAWSUIT.

   The arbitrator has the ability to award all remedies available under Tribal Law, whether at law or in
   equity, to the prevailing party, except that you and we agree that the arbitrator has no authority to
   conduct class-wide proceedings and will be restricted to resolving individual Disputes. The arbitrator
   may award such remedies only in favor of the individual party seeking relief and only to the extent
   necessary to prove relief warranted by that party’s individual claim. Further, unless both you and we
   agree otherwise, the arbitrator may not consolidate more than one person’s claims, and may not
   otherwise preside over any form of a representative or class proceeding. The validity, effect, and
   enforceability of the waivers of class action lawsuit and class-wide arbitration, if challenged, are to be
   determined solely by a Tribal court of competent jurisdiction and not by the CPR, JAMS, or an
   arbitrator. If the Tribal court refuses to enforce the class-wide arbitration waiver, the parties agree that
   the Dispute will proceed in Tribal court and will be decided by a Tribal court judge, sitting without a
   jury, under applicable Tribal court rules and procedures, and not as a class action lawsuit. As an
   integral component of accepting this Agreement, you irrevocably consent to the exclusive jurisdiction
   of the Tribal courts for purposes of this Agreement.

   APPLICABLE LAW AND JUDICIAL REVIEW OF ARBITRATOR’S AWARD: THIS AGREEMENT TO
   ARBITRATE SHALL BE GOVERNED BY TRIBAL LAW. The arbitrator shall apply Tribal Law and the
   terms of this Agreement, including this Agreement to Arbitrate and the waivers included herein. The
   arbitrator may decide, with or without a hearing, any motion that is substantially similar to a motion to
   dismiss for failure to state a claim or a motion for summary judgment. The arbitrator shall make
   written findings and the arbitrator’s award may be filed with a Tribal court. The arbitration award shall
   be supported by substantial evidence and must be consistent with this Agreement and Tribal Law, and
   if it is not, it may be set aside by a Tribal court upon judicial review. During the arbitration, the amount
   of any settlement offer made by us or you shall not be disclosed to the arbitrator until after the
   arbitrator determines the amount, if any, to which you or we are entitled. The parties will have the
   right to judicial review in a Tribal court of (a) whether the findings of fact rendered by the arbitrator
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    are supported by substantial evidence and (b) whether the conclusions of law are erroneous under
    Tribal Law. Judgment confirming an award in such a proceeding may be entered only if a Tribal court
    determines that the award is supported by substantial evidence and is not based on legal error under
    Tribal Law.

    SURVIVAL: This Agreement to Arbitrate will survive: (1) the cancellation, payment, charge-off, or
    assignment of this Agreement; (2) the bankruptcy of any party; and (3) any transfer, sale, or
    assignment of this Agreement, or any amounts owed under this Agreement, to any other person or
    entity.



 PLEASE CAREFULLY REVIEW THIS AGREEMENT, WHICH INCLUDES A WAIVER OF JURY TRIAL AND
 ARBITRATION AGREEMENT THAT MAY BE ENFORCED BY YOU AND US. IF YOU HAVE QUESTIONS,
 PLEASE CONTACT CUSTOMER SERVICE AT (877) 836-1506.

 By electronically signing this Agreement: You certify that all information you gave us in connection with
 your application and this Agreement is true and correct, and you authorize us to verify any information you
 provided. You give us consent to obtain information about you from one or more consumer reporting
 agencies and other sources. You acknowledge that: (a) you have read, understand, and agree to all of the
 terms and conditions of (i) this Agreement, including the truth-in-lending disclosures and the Waiver of Jury
 Trial and Arbitration Agreement, and (ii) Lender’s Privacy Policy
 (https://www.greatplainslending.com/faq/privacy-policy) (b) this Agreement contains all of the terms of the
 agreement between you and us and that no representations or promises other than those contained in this
 Agreement have been made; (c) if you elect below to repay this Loan via ACH debits to your Bank Account,
 you specifically authorize withdrawals and deposits to and from your Bank Account as described in this
 Agreement; (d) you are not a debtor under any proceeding in bankruptcy and have no intention to file a
 petition for relief under any chapter of the United States Bankruptcy Code; (e) this Agreement was filled in
 before you signed it; (f) you have the ability to print or retain a completed copy of this Agreement; and (g)
 we have not made the Loan contingent upon your obtaining any other product or service from us or anyone
 else. You further acknowledge that we may withhold funding of your Loan until (i) we confirm that you have
 made all payments on any previous loans with Lender, (ii) we verify that all information you gave us on your
 application is true and (iii) we decide whether you meet our requirements to receive the Loan.


      By checking here and signing below, you understand, acknowledge and agree that Great
      Plains Lending, LLC is a tribal lending entity wholly owned by Otoe-Missouria Tribe of
      Indians, a federally recognized tribe. You further understand, acknowledge and agree
      that this Loan is governed by the laws of the Otoe-Missouria Tribe and is not subject to
      the provisions or protections of the laws of your home state or any other state. If you
      wish to have your resident state law apply to any loan that you take out, you should
      consider taking a loan from a licensed lender in your state.

 Please review and select one of these funding/payment options:

      ELECTRONIC (as soon as the next business day): By checking here and signing below, you
      agree to the ACH Authorization set forth in this Agreement, which allows us to debit and credit your
      Bank Account for this Loan. You acknowledge and agree that the ACH Authorization is for the
      benefit of Great Plains Lending, LLC, its affiliates, agents, representatives, employees, successors,
      and registered assigns. You acknowledge that you are not required to consent to receive funds or
      repay your Loan by ACH or other electronic payment method.

      POSTAL MAIL (allow 7 to 10 days for delivery): By checking here and signing below, you
      request Loan proceeds be distributed to you by check and delivered by regular mail through the
      U.S. Postal Service. If you elect to receive your proceeds by mail, you must make payments as
      explained in the “Payments” section above. You acknowledge that interest begins accruing on the
      Effective Date set forth at the top of this Agreement.
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 Your Full Name:                  Type 'I Agree':           Date:
 Patrick Inscho                   I AGREE                   3/31/2016

 Great Plains Lending, LLC

 Ver. 25
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                  EXHIBIT 5
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THIS AGREEMENT SHALL NOT CONSTITUTE A "NEGOTIABLE INSTRUMENT"

CONSUMER LOAN AGREEMENT
LOAN NUMBER: 67893953

                                                           Plain Green, LLC
                                                       93 Mack Road, Suite 600
                                                             PO Box 270
                                                         Box Elder, MT 59521


BORROWER'S INFORMATION:




Lender: Plain Green, LLC                                             Borrower's Name:
                                                                     Lawrence Mwethuku

Origination Date: 5/28/2013                                          Borrower's ID:
This is the date you signed and submitted this loan
                                                                     *******7657
agreement to the lender.

Effective Date: 5/29/2013                                            Borrower's Address:
The date you begin to pay interest on the loan.                      REDACTED



Final Payment Due Date:                                              Borrower's Bank and Account Number for ACH
11/12/2013                                                           Transfers (the "Bank Account"):
                                                                     Wells fargo REDACTED


This Loan Agreement (the "Agreement") is subject solely to the exclusive laws and jurisdiction of the Chippewa Cree Tribe
of the Rocky Boy's Indian Reservation, Montana ("Chippewa Cree"). In this Agreement, "you" and "your" refer to the Borrower
identified above. "We", "us", "our", and Lender refer to Plain Green, LLC, a lender authorized by the laws of the Chippewa Cree.
"Loan" means this consumer installment loan. By executing this Agreement, you hereby acknowledge and consent to be bound to the
terms of this Agreement, consent to the sole subject matter and personal jurisdiction of the Chippewa Cree Tribal Court, and further
agree that no other state or federal law or regulation shall apply to this Agreement, its enforcement or interpretation.


TRUTH IN LENDING DISCLOSURES: The disclosures below are provided to you so that you may compare the cost of this loan to other
loan products you might obtain in the United States. Our inclusion of these disclosures does not mean that we or any subsequent holder
of this Agreement consent to application of state or federal law to us, to the Loan, or this Agreement.
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                                           TRUTH-IN-LENDING DISCLOSURES



            ANNUAL                   FINANCE CHARGE                  Amount Financed                Total of Payments
      PERCENTAGE RATE               The dollar amount the           The amount of credit         The amount you will have
   The cost of your credit as a      credit will cost you.       provided to you or on your      paid after you have made
          yearly rate.                                                     behalf.              all payments as scheduled.

            373.97%                        $568.20                        $500.00                      $1,068.20

 Your payment schedule (the "Payment Schedule") will be:

   Number of Payments         Amount of Payments          When Payments Are Due (each, a "Payment Due Date")
                                                                       6/11/2013, 6/25/2013,
                                                                       7/9/2013, 7/23/2013,
                                                                       8/6/2013, 8/20/2013,
             11                      $89.02
                                                                       9/3/2013, 9/17/2013,
                                                                      10/1/2013, 10/15/2013,
                                                                             10/29/2013
              1                      $88.98                                  11/12/2013

  PREPAYMENT: If you pay off the Loan early, you will not have to pay a penalty, and you may be entitled to a refund of
  part of the finance charge.

  SECURITY INTEREST: If you have chosen the ACH Debit Authorization option, your ACH authorization is security for
  this loan.

  See the Loan Agreement for any additional information about nonpayment, default, any required repayment in full
  before the scheduled date and prepayment penalties.


Itemization of Amount Financed:                                                                                  $500.00
  Amount given to you directly:                                                                                  $500.00


PROMISE TO PAY: You promise to pay to the order of Lender or any registered assignee of this Agreement the principal
sum of $500.00 plus interest from the date of this Loan at the rate of 375.0010% per year until this Loan is repaid in full.
You promise to pay these amounts on the dates listed in the Payment Schedule above. You also promise to pay to us or to
any subsequent holder of this Agreement any other fees provided for under this Agreement.

PAYMENTS: You promise to pay the amount of the Total of Payments shown above on or before the Payment Due Date. If
you have chosen the ACH Debit Authorization option, you must make arrangements with us by 5:00 PM Eastern Time, on the
business day prior to the Payment Due Date, so an authorized ACH entry is not initiated. If you choose to mail a payment,
(i) all payments shall be mailed to PO Box 270, Box Elder, MT 59521, (ii) payment must reach this address by the Payment
Due Date, and (iii) you should notify us prior to 5:00 PM Eastern Time the business day prior to Payment Due Date so an
authorized ACH entry is not initiated prior to receipt of the payment. In addition, you agree that we cannot make and have
not made the Loan contingent upon your obtaining any other product or service from us or anyone else. If you have chosen
to receive your loan proceeds via check please mail your payments by the dates indicated within "When Payments Are Due"
section of this Agreement to 93 Mack Road, Suite 600, PO Box 270, Box Elder, MT 59521.

CALCULATION OF INTEREST AND PAYMENTS: The interest charged hereunder is calculated using the simple interest
method and has been computed upon the basis that you will pay all installments on the scheduled Payment Dates. Interest
shall not be payable in advance or compounded.

WHEN YOU BEGIN PAYING INTEREST: You begin to pay us interest on the Loan on the date the proceeds of the Loan are
deposited into your Bank Account, or, if you elect to receive Loan proceeds by check through the mail, the date we issue the
check (the "Effective Date"). You will be charged interest on the unpaid amount of the Loan each day from the Effective Date
until the Loan is paid in full. In calculating your payments, we have assumed you will make each payment on the day and in
the amount due. If any payment is received after the payment due date, you must pay any additional interest that accrues
after such date. If any payment is made before the payment due date, the interest due will be reduced. The amount of this
decrease or increase in interest due will be reflected in the final payment that is due. Time is of the essence, which means
that there are no grace periods for when payments must be made. If any payment is due on a day on which your bank is not
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open, then such payment shall be due on the next day upon which your bank is open.

VERIFICATION: You authorize us to verify the information you provided to us in connection with your Loan application. You
give us consent to obtain information about you from a consumer reporting agency or other sources. We reserve the right to
withhold funding of this Loan, at any time prior to disbursement, to allow us to verify the information you have provided to
us.

ACH AUTHORIZATION TO CREDIT BANK ACCOUNT: Unless the proceeds of this Agreement are applied to any
outstanding loan balance that you may owe to us, and you do not elect to receive the Loan proceeds by check through
regular mail, you authorize us and our agents to initiate an Automated Clearing House ("ACH") credit entry to your Bank
Account to disburse the proceeds of this Loan.

ACH AUTHORIZATION TO DEBIT BANK ACCOUNT: Unless you chose to mail to us a check or money order as payment
for this Loan, you authorize us, and our agents, successors, employees, and registered assigns to withdraw money from your
Bank Account for each payment you owe us, including any returned payment charges and the total amount you owe if you
do not pay us when you agreed in this Agreement. You agree we can withdraw money from your Bank Account (called an
'ACH debit entry') on each scheduled payment date shown on the Payment Schedule above. This right to withdraw money
from your Bank Account will remain in full force until the earlier of the following occurs: (i) you pay us everything that you
owe us under this Agreement or (ii) you tell us or the institution holding your Bank Account (the "Paying Bank") that we can
no longer withdraw money from your Bank Account in enough time to let the Paying Bank or us stop taking the money out of
your Bank Account. You acknowledge and agree that this ACH Authorization to Debit Bank Account inures to the benefit of
Plain Green, LLC, its affiliates, agents, employees, successors, and registered assigns.

NOTICE OF VARYING AMOUNTS: For those customers who have chosen the ACH Debit Authorization, please note that
you have the right to receive notice of all withdrawals from your Bank Account by an ACH Debit that vary in amount.
However, by agreeing to let us withdraw the money from your Bank Account, you agree we only have to tell you the range
of withdrawals that we can make. The range of withdrawals will be either an amount equal to your installment payment or
an amount equal to the outstanding balance under the Loan (which may be greater than or less than an installment payment
based upon your payment history), plus a returned payment fee as specified below. For any withdrawal outside of this
specified range, we will send you a notice. Therefore, by signing this Agreement below, you are choosing to only receive
notice when a withdrawal exceeds the amount in the specified range. You authorize us to vary the amount of the amount of
any withdrawal as needed to repay installments due on the Loan as modified by any partial prepayments you make.

TERMINATING ACH DEBIT AUTHORIZATION: For those customers who have chosen the ACH Debit Authorization, the
ACH debit authorization will remain in full force and effect until the earlier of the following occurs: (i) you satisfy all of your
payment obligations under this Agreement or (ii) you tell us or the Paying Bank that we can no longer withdraw money from
your Bank Account in enough time to let the Paying Bank or us stop taking the money out of your Bank Account. Terminating
your ACH authorization does not relieve you of your obligation to pay your Loan in full.

REMOTELY CREATED CHECK AUTHORIZATION: If you terminate any previous ACH Debit Authorization you provided to
us or we do not receive a payment by the Payment Due Date, you authorize us and our agents, successors and assigns to
create and submit remotely created checks for payment to us in the amount of each payment owing under this Agreement,
including any returned payment charges or other amounts owing to us upon acceleration of this Loan as a result of your
Default. Your typed signature below shall constitute your authorization to us to authenticate remotely created checks, which
are also known as demand drafts, telechecks, preauthorized drafts, or paper drafts. If you believe we charged your Bank
Account in a manner not contemplated by this authorization, then please contact us. You authorize us to vary the amount of
any preauthorized payment by remotely created check as needed to repay installments and any other payments due under
this Agreement.

PAYMENT BY CHECK OR MONEY ORDER: You may pay each payment owing under this Agreement by check or money
order.

CHECK CONVERSION NOTIFICATION: When you provide a check as payment, you agree we can either use information
from your check to make a one-time electronic withdrawal from your Bank Account or to process the payment as a check
transaction. When we use information from your check to make a withdrawal from your Bank Account, funds may be
withdrawn from your Bank Account as soon as the same day we receive your payment and you will not receive your check
back from your financial institution. For questions, please call our customer service phone number: (866) 420-7157.

PAYMENT APPLICATION: Lender will apply your payments in the following order: (1) to any fees due, (2) to earned but
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unpaid interest, and (3) to principal amounts outstanding.

SECURITY INTEREST DISCLOSURE: To the extent that your agreement to have us withdraw money from your Bank
Account is deemed a security interest under the law of the Chippewa Cree Tribe, you hereby grant to us a security interest in
such withdrawal authorization using the ACH system.

PREPAYMENT: You may prepay all or part of the amount you owe us at any time without penalty. If you do so, you must
pay the interest accrued on your Loan and all other amounts due up to the date of your payment.

REFINANCE POLICY: We, in our sole discretion, will determine whether your Loan may be refinanced.

RETURNED PAYMENT FEE: If any payment made by you on this Loan is not honored or cannot be processed for any
reason, including not enough money in your Bank Account, you agree to pay us a fee of $30.00. You authorize us and our
agents to make a one-time withdrawal from your Bank Account to collect this fee, if you have also selected the ACH Debit
Authorization. Your financial institution may also impose a fee.

DEFAULT: You will have broken your promise you made to us in this Agreement (each a "Default") if: (a) you provide false
or misleading information about yourself, your employment, or your financial condition prior to entering into this Agreement,
(b) if you fail to make a payment by the due date or if your payment is returned to us for any reason, or (c) if you file
bankruptcy or become a debtor under the Federal Bankruptcy Laws.

CONSEQUENCES OF DEFAULT: Should you not do the things you agreed to under this Agreement, we may, at our option,
do any one or more of the following things: (a) require you to immediately pay us everything you owe us; (b) withdraw
money from your Bank Account that was not available when we tried to withdraw it at an earlier time, if you have selected
the ACH Debit Authorization; and (c) pursue all legally available means to collect what you owe us. In the event we declare
all amounts owed under this Agreement immediately due because you did not pay us, then you further authorize us and our
agents to withdraw money from your Bank Account in the full amount due under this Agreement, if you have selected the
ACH Debit Authorization. By choosing any one of more of these, we do not give up our right to use another way to collect
the money you owe us later. We may decide not to use any of the ways described above to get back the money that you
owe us. If so, we do not give up our right to consider what you said you would do to make payment(s) and, if you fail to
make those payment(s), we will consider you to be in Default.

CREDIT REPORTING: We may report information about your Loan to credit bureaus. Late payments, missed payments, or
other things you do may be reflected on your credit report.

RIGHT TO CANCEL: You may rescind or cancel this Loan, without cost or further obligation to Lender, if you do so on or
before 5:30 p.m., Eastern Time, on the fifth business day after the Origination Date (the "Rescission Deadline"). To cancel,
call Lender at (866) 420-7157 to tell us you wish to rescind this Loan and provide us written notice of rescission as directed
by our customer service representative. If you have provided an ACH Authorization: In the event that we timely receive your
written notice of rescission on or before the Rescission Deadline but before the Loan proceeds have been credited to your
Bank Account, we will not effect a credit entry to your Bank Account and both ours and your obligations under this
Agreement will be rescinded. In the event that we timely receive your written notice of rescission on or before the Rescission
Deadline but after the Loan proceeds have been credited to your Bank Account because you have provided an ACH
Authorization, we will effect a debit to your Bank Account for the principal amount owing under this Agreement. If we receive
payment of the principal amount via the debit, ours and your obligations under this Agreement will be rescinded. If we do
not receive payment of the principal amount via the debit, then the Agreement will remain in full force and effect until all
sums due and owing under this Agreement are repaid in full inclusive of interest and fees, if any. If you have elected to
receive your Loan proceeds via check delivered by mail: In the event that we timely receive your written notice of rescission
on or before the Rescission Deadline, and (a) if we have not mailed the check representing the Loan proceeds to you or (b) if
you have not cashed the check representing the Loan proceeds, then we will cancel the check and both ours and your
obligations under this Agreement will be rescinded.

BORROWER'S BANK CHARGES: You will not hold us or our agents responsible for any fees you must pay as a result of any
check or withdrawal request being presented at your bank in connection with this Agreement.

TRANSFER OF RIGHTS AND MAINTENANCE OF REGISTER: We may assign or transfer this Agreement, or any of our
rights hereunder, to another person or entity without notice or consent from you. Regardless of any transfer, this Agreement
shall remain exclusively subject to the laws and courts of the Chippewa-Cree Tribe. Plain Green, LLC, (the "Registrar") acting
solely for this purpose as your irrevocably appointed agent, shall maintain at an office located in the United States a copy of
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each assignment of this Agreement delivered to it and a register (the "Register") for the recordation of the names and
addresses of the original owner and assignees, and the amounts of principal and interest owing to each from time to time
pursuant to the terms of this Loan. The Register may be in electronic form. The entries of the Register shall be conclusive,
and you, the Registrar, the Lender and all of its assignees shall treat each person whose name is recorded in the Register
pursuant to these terms as the owner of such principal and interest payments for all purposes of this Agreement,
notwithstanding notice to the contrary. The name of the owner in the Register shall be available to you by written request to
the Registrar at any reasonable time and from time to time upon reasonable prior notice. In addition to the foregoing, the
Registrar shall include on the Register the names and addresses of those persons holding participation interests in the Loan
of which it has notice. Any fees and expenses of the Registrar for its services shall be charged to the registered owner of the
loan and not to you.

WAIVER OF JURY TRIAL AND ARBITRATION.

RIGHT TO OPT OUT. IF YOU DO NOT WISH YOUR ACCOUNT TO BE SUBJECT TO THIS AGREEMENT TO ARBITRATE, YOU
MUST ADVISE US IN WRITING AT 93 MACK ROAD, SUITE 600, PO BOX 270, BOX ELDER, MT 59521 OR VIA E-MAIL AT
SUPPORT@PLAINGREENLOANS.COM. YOU MUST CLEARLY PRINT OR TYPE YOUR NAME AND ACCOUNT NUMBER OR SOCIAL
SECURITY NUMBER AND STATE THAT YOU REJECT ARBITRATION. YOU MUST GIVE WRITTEN NOTICE; IT IS NOT
SUFFICIENT TO TELEPHONE US. WE MUST RECEIVE YOUR LETTER OR E-MAIL WITHIN SIXTY (60) DAYS AFTER THE DATE
YOUR LOAN FUNDS OR YOUR REJECTION OF ARBITRATION WILL NOT BE EFFECTIVE. IN THE EVENT YOU OPT OUT OF THIS
AGREEMENT TO ARBITRATE, ANY DISPUTES HEREUNDER SHALL NONETHELESS BE GOVERNED UNDER THE LAWS OF THE
CHIPPEWA CREE TRIBE AND MUST BE BROUGHT WITHIN THE COURT SYSTEM THEREOF.

PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY. Unless you exercise your right to opt-out of
arbitration in the manner described above, any dispute you have with Lender or anyone else under this Agreement will be
resolved by binding arbitration. Arbitration replaces the right to go to court, including the right to have a jury, to engage in
discovery (except as may be provided in the arbitration rules), and to participate in a class action or similar proceeding. In
arbitration, a dispute is resolved by an arbitrator instead of a judge or jury. Arbitration procedures are simpler and more
limited than court procedures. Any arbitration will be limited to addressing your dispute individually and will not be part of a
class-wide or consolidated arbitration proceeding.

Agreement to Arbitrate. You agree that any Dispute (defined below) will be resolved by arbitration in accordance with
Chippewa Cree tribal law.

Arbitration Defined. Arbitration is a means of having an independent third party resolve a Dispute. A "Dispute" is any
controversy or claim between you and Lender, its marketing agent, collection agent, any subsequent holder of this Note, or
any of their respective agents, affiliates, assigns, employees, officers, managers, members or shareholders (each considered
a "Holder" for purposes of this Agreement). The term Dispute is to be given its broadest possible meaning and includes,
without limitation, all claims or demands (whether past, present, or future, including events that occurred prior to the
opening of this Account), based on any legal or equitable theory (tort, contract, or otherwise), and regardless of the type of
relief sought (i.e. money, injunctive relief, or declaratory relief). A Dispute includes, by way of example and without
limitation, any claim arising from, related to or based upon marketing or solicitations to obtain the loan and the handling or
servicing of your account whether such Dispute is based on a tribal, federal or state constitution, statute, ordinance,
regulation, or common law, and including any issue concerning the validity, enforceability, or scope of this loan or the
Agreement to Arbitrate.

You acknowledge and agree that by entering into this Arbitration Provision:

(a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST
US OR RELATED THIRD PARTIES;

(b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR
RELATED THIRD PARTIES; and

(c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR
IN ANY OTHER REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF
CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR RELATED THIRD PARTIES.

Choice of Arbitrator. Any party to a Dispute, including a Holder or its related third parties, may send the other party
written notice by certified mail return receipt requested at the address appearing at the top of this Agreement of their intent
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to arbitrate and setting forth the subject of the dispute along with the relief requested, even if a lawsuit has been filed.
Regardless of who demands arbitration, you shall have the right to select any of the following arbitration organizations to
administer the arbitration: the American Arbitration Association (1-800-778-7879) http://www.adr.org; JAMS (1-800-352-
5267) http://www.jamsadr.com; or an arbitration organization agreed upon by you and the other parties to the Dispute. The
arbitration will be governed by the chosen arbitration organization's rules and procedures applicable to consumer disputes,
to the extent that those rules and procedures do not contradict either the law of the Chippewa Cree Tribe or the express
terms of this Agreement to Arbitrate, including the limitations on the Arbitrator below. The party receiving notice of
Arbitration will respond in writing by certified mail return receipt requested within twenty (20) days. You understand that if
you demand Arbitration, you must inform us of your demand and of the arbitration organization you have selected. You also
understand that if you fail to notify us, then we have the right to select the arbitration organization. Any arbitration under
this Agreement may be conducted either on tribal land or within thirty miles of your residence, at your choice, provided that
this accommodation for you shall not be construed in any way (a) as a relinquishment or waiver of the Chippewa Cree's
Tribes sovereign status or immunity, or (b) to allow for the application of any law other than the law of the Chippewa Cree
Tribe.

Cost of Arbitration. We will pay the filing fee and any costs or fees charged by the arbitrator regardless of which party
initiates the arbitration. Except where otherwise provided by the law of the Chippewa Cree Tribe, each party will be
responsible for its own attorneys' fees and other expenses. Unless prohibited by law, the arbitrator may award fees, costs,
and reasonable attorneys' fees to the party who substantially prevails in the arbitration.

Waiver of Jury Trial and Waiver of Ability to Participate in a Class Action. YOU HEREBY AGREE THAT YOU ARE
WAIVING YOUR RIGHT TO A JURY TRIAL, TO HAVE A COURT DECIDE YOUR DISPUTE, AND YOU ARE WAIVING YOUR ABILITY
TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, TO PARTICIPATE IN A CLASS ACTION LAWSUIT, OR
IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE ARBITRATION, AND TO CERTAIN DISCOVERY AND OTHER
PROCEDURES THAT WOULD BE AVAILABLE IN A LAWSUIT. The arbitrator has the ability to award all remedies available
under the Chippewa Cree Tribe's tribal law, whether at law or in equity, to the prevailing party, except that the parties agree
that the arbitrator has no authority to conduct class-wide proceedings and will be restricted to resolving the individual
Disputes between the parties. The validity, effect, and enforceability of this waiver of class action lawsuit and class-wide
arbitration is to be determined solely by a court of competent jurisdiction located within the Chippewa Cree Tribe, and not by
the arbitrator. If the court refuses to enforce the class-wide arbitration waiver, or if the arbitrator fails or refuses to enforce
the waiver of class-wide arbitration, the parties agree that the Dispute will proceed in tribal court and will be decided by a
tribal court judge, sitting without a jury, under applicable court rules and procedures and may be enforced by such court
through any measures or reciprocity provisions available.

Applicable Law and Judicial Review. THIS AGREEMENT TO ARBITRATE IS MADE PURSUANT TO A TRANSACTION
INVOLVING THE INDIAN COMMERCE CLAUSE OF THE CONSTITUTION OF THE UNITED STATES OF AMERICA, AND SHALL BE
GOVERNED BY THE LAW OF THE CHIPPEWA CREE TRIBE. The arbitrator will apply the laws of the Chippewa Cree Tribe and
the terms of this Agreement, including the Agreement to Arbitrate. The arbitrator must apply the terms of this Agreement to
Arbitrate, including without limitation the waiver of class-wide arbitration. The arbitrator may decide, with or without a
hearing, any motion that is substantially similar to a motion to dismiss for failure to state a claim or a motion for summary
judgment. If allowed by statute or applicable law, the arbitrator may award statutory damages and/or reasonable attorneys'
fees and expenses. The arbitrator will make written findings and the arbitrator's award may be filed with the tribal court. The
arbitration award will be supported by substantial evidence and must be consistent with this Agreement and applicable law
or may be set aside by the tribal court upon judicial review.

Other Provisions. This Agreement to Arbitrate will survive: (i) termination or changes in this Agreement, the Account, or
the relationship between us concerning the Account; (ii) the bankruptcy of any party; and (iii) any transfer, sale or
assignment of my Note, or any amounts owed on my account, to any other person or entity. This Agreement to Arbitrate
benefits and is binding upon you, your respective heirs, successors and assigns. It also benefits and is binding upon us, our
successors and assigns, and related third parties. The Agreement to Arbitrate continues in full force and effect, even if your
obligations have been paid or discharged through bankruptcy. The Agreement to Arbitrate survives any termination,
amendment, expiration, or performance of any transaction between you and us and continues in full force and effect unless
you and we otherwise agree in writing. If any of this Agreement to Arbitrate is held invalid, the remainder shall remain in
effect.

GOVERNING LAW. This Agreement and the Agreement to Arbitrate are governed by the Indian Commerce Clause of the
Constitution of the United States of America and the laws of the Chippewa Cree Tribe. We do not have a presence in
Montana or any other state of the United States of America. Neither this Agreement nor the Lender is subject to the laws of
any state of the United States.
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TELEPHONE CALLS. You hereby agree that in the event we need to contact you to discuss your account or the repayment
of your Loan, we may call you at any number, including any cell phone number you have provided, and that we may leave
an autodialed or prerecorded message or use other technology (including, but not limited to, SMS messaging or other text
messaging) to contact or to communicate with you.

VERIFICATION. You authorize us to verify all of the information you have provided in obtaining approval of this Loan.

This Agreement includes a Waiver of Jury Trial and Arbitration Provision that may be enforced by you and us. By
signing this Agreement you agree that it was filled in before you did so and that you have received a completed copy of it.
You further agree that you have read and understand all of the terms of this Agreement, including the part
entitled "Waiver of Jury Trial and Arbitration Provision."

By electronically signing this Agreement you certify that the information given in connection with this Agreement is true
and correct. You authorize us to verify the information given in connection with this Agreement, and you give us consent to
obtain information about you from a consumer reporting agency or other sources. You acknowledge, represent and
warrant that (a) you have read, understand, and agree to all of the terms and conditions of this Agreement,
including the Disclosures and the Arbitration Agreement and Waiver of Jury Trial, (b) this Agreement contains
all of the terms of the agreement between you and us and that no representations or promises other than those
contained in this Agreement have been made, (c) you specifically authorize withdrawals and deposits to and
from your Bank Account as described in this Agreement, if you have selected the ACH Debit Authorization, (d)
you are not a debtor under any proceeding in Bankruptcy and have no intention to file a petition for relief under
any chapter of the United States Bankruptcy Code, (e) this Agreement was filled in before you signed it, and (f)
you have the ability to print or retain a completed copy of this Agreement. You further acknowledge that we
may withhold funding of your Loan until we check to make sure all the information you gave us on your
application is true and we decide whether you meet our requirements to receive the Loan.


b I understand, acknowledge and agree that Plain Green, LLC is a tribal lending entity wholly owned by
c
d
e
f
g
Chippewa Cree Tribe of the Rocky Boy's Indian Reservation, Montana, a federally recognized tribe. I further
understand, acknowledge and agree that this loan is governed by the laws of the Chippewa Cree Tribe and is
not subject to the provisions or protections of the laws of my home state or any other state.



 b By checking here you authorize us to verify all of the information that you have provided, including past and/or current
 c
 d
 e
 f
 g
information. You certify that you have made or will make all payments on any previous loans with Lender, and
you agree that Lender may cancel this loan if any payment on your previous loans is not made or is returned
unpaid. You agree that we may obtain information about you and your Bank Account from your Bank and/or consumer
reporting agencies until all amounts owing pursuant to this Agreement are paid in full. If there is any missing or erroneous
information in or with your loan application regarding your bank, bank routing number, or account number, then you
authorize us to verify and correct such information.


Please review and select one of these funding options:
i ELECTRONIC (as soon as the next business day): By checking here you authorize us to effect ACH debit and credit
j
k
l
m
n
entries for this Loan and you agree to the ACH Authorization set forth in this Agreement. You acknowledge and agree that
the ACH Authorization inures to the benefit of Plain Green, LLC, its affiliates, agents, representatives, employees,
successors, and registered assigns. You agree that the ACH Authorization is subject to our approving this Agreement. If you
agree to the ACH Authorization in this Agreement and authorize debit and credit entries for this Loan, you also agree that
the ACH Authorization set forth in this Agreement is to remain in full force and effect for this Loan until your indebtedness to
us for the unpaid principal balance of this Loan, plus accrued interest (including interest owing on past due amounts) and
fees, is fully satisfied. If you revoke your ACH Authorization, you agree to provide us with another means of payment
acceptable to us in our sole discretion. Check this box if you agree to the ACH Authorization in this Agreement.


j POSTAL MAIL (up to 7 to 10 days): By checking here, you request Loan proceeds be distributed to you by check and
k
l
m
n
delivered by regular mail through the United States Postal System. If you elect to receive your proceeds by mail, you must
also make your payments via money order or certified check by mail as explained in the "Payments" section above. You
should allow 7 to 10 days for delivery of the Loan proceeds, and you acknowledge that your Loan proceeds check may not
be mailed to you until your "Right of Rescission" (as described above) has expired. You acknowledge that interest begins
accruing on the Effective Date set forth at the top of this Agreement. If you have elected to receive your Loan proceeds by
check, the ACH Authorization set forth above does not apply to the funding or repayment of your Loan.
        CaseCase 3:18-cv-01200-WHO
            3:17-cv-00386-MHL       Document
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Plain Green, LLC
                                             Date:
                                             5/28/2013

By: Billi Anne Raining Bird-Morsette, CEO
Your Full Name:                 Type 'I Agree':      Date:
Lawrence Mwethuku               I Agree              5/28/2013
